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                                                                        UNITED   STATES DISTRICT COURT
                                                                         MIDDLE    DISTRICT OF FLORIDA
                                                                               ORLANDO     DIVISION

                                                                          CASE       NO.:        6:19-cv- -01484- -CEM-LRH


    LOGAN                    BACH                  STEIN,      an individual


                           Plaintiff,      (




                                                                                                              DECLARATION                          OF      SEAN       LI IN
    V.                                                                                                        SUPPORT                OF DEFENDANT                            MOTION
                                                                                                              TO          TRANSFER               OR, IN THE
    DISCORD,                       INC,            , a for-profit           corporation,                      ALTERNATIVE,    DISMISS                                 PLAINTIFF
                                                                                                              COMPLAINT    [D.E.1]
                           Defendant,




                       I, Sean       Li,       (
                                                   declare         as    follows



                      I am         Director            of    Trust        and      Safety       and   Legal        Counsel         for    Discord,         Inc.    ("Discord").         In



  these     roles,            I have               become           familiar        with        Discord'   's business            operations         and      records,      I have



  personal                 knowledge                 of the matters                set    forth below         and     am        competent          to testify thereto


                                     Discord                is incorporated                in the state       of Delaware                 Attached         to this declaration               as



  Exhibit             A     is a true and               correct            copy     of a screenshot                from     the    State    of     Delaware          Department             of



  State     website,                showing                 that        Discord     is incorporated                in Delaware


                      2.             Discords                 headquarters               are located          in San        Francisco,           California.         Discord      has no


 other      office            locations



                  3
                                    Discord             has        no     physical         office,    store    (
                                                                                                                    warehouse,            or other      physical          location     in



 Florida.              Discord         does           not     own          or lease       any     offices,     buildings,           or other        facilities       in   Florida.


                  4,                Discord             has no            Florida        telephone         number          or     local address         listed       on its website          or



 in any     directory



              5




                                    Discord            is a software                company           with    no      physical           product     inventory,            and   its


 advertising                 and    marketing                 are primarily                 conducted         online.           Discord       does      not       store   inventory         or



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  product                  literature        in Florida


               6
                                      Discord          does     not     have         any     employees           or offices          in Florida


                       7
                                      Discord          is not        registered        to    do     business        in      Florida.



                   8


                                      Discord          does         not employ             any     moderators


               9

                                      Discord          was      able to       identify           the account          associated           with     Plaintiff.


                       10             All     Discord          users        are required           to register         for     Discord'      's services           before      using       the



  platform.                  Plaintiff        signed         up for Discord                on February           21, 2016
                                                                                                                       9
                                                                                                                                    and     completed            a signup          process


  that required                   him        to first enter           his    email         address.



                   11                 He      was      presented            with     a message             that, by registering              for     Discord,           he was         agreeing


 to   the Terms                   and        Privacy         Policy,        which         were     linked      to in        the message.            To    complete          the    signup



  process,                 he   had     to    click     the    button        signifying            that he     agreed          to the     Terms          and    Privacy        Policy


                   12                 Attached          to     this declaration               as    Exhibit     Bis          a true and       correct          copy     of Discord's



  current      registration                    page,       which       is essentially              the same         as the one            Plaintiff        would        have      seen    in


  2016


               13                     Attached          to this declaration                   as Exhibits           C-G       are true       and    correct           copies      of



  Discord          's Terms                of Service           from        September              12, 2015     to         the present


               I declare                under         penalty         of perjury           under      the    laws          of the   United         States       of America             that the



 foregoing                  is true and             correct     to     the best       of my         knowledge



               Executed                    this      9th      day    of September,                 2019     at San          Francisco,        California.




                                                                                   Sean      Li




                                                                                                      -2


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                             EXHIBIT B
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                             EXHIBIT C
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 # Discord Terms of Service

 Last modified:   September 12, 2015.

 # Introduction and Accepting the Terms

 Welcome to Discord!

 These Terms of Service (“Terms”), which include and hereby incorporate
 the Privacy Policy at [discordapp.com/privacy](/privacy) (“Privacy
 Policy”), are a legal agreement between Hammer & Chisel Inc. and its
 related companies (the “Company” or "we") and you ("you"). By using or
 accessing the Discord application (the “App”) or the website located at
 https://discordapp.com (the "Site"), which are collectively referred to
 as the “Service,” you agree (i) that you are 13 years of age or older,
 (ii) if you are the age of majority in your jurisdiction or over, that
 you have read, understood, and accept to be bound by the Terms, and (iii)
 if you are between 13 and the age of majority in your jurisdiction, that
 your legal guardian has reviewed and agrees to these Terms.

 The Company reserves the right, in its sole discretion, to modify or
 revise these Terms at any time, and you agree to be bound by such
 modifications or revisions. Any such change or modification will be
 effective immediately upon posting on the Service, and your continued use
 of the Service after any changes or modifications to these Terms are
 posted will constitute your acceptance of, and agreement to, such changes
 or modifications. If you object to any change or modification, your sole
 recourse shall be to cease using the Service.

 # Rights to Use the Service

 The Service provides a social online and mobile chat platform via the App
 and related Internet services. The Service may allow you to participate
 in public and private chat rooms and to utilize messaging features to
 communicate with other users of the Service. Subject to your compliance
 with these Terms, the Company grants you a limited, revocable, non-
 exclusive, non-transferable, non-sublicensable license to use and access
 the Service, solely for your personal, non-commercial use.

 You agree not to (and not to attempt to) (i) use the Service for any use
 or purpose other than as expressly permitted by these Terms or (ii) copy,
 adapt, modify, prepare derivative works based upon, distribute, license,
 sell, transfer, publicly display, publicly perform, transmit, stream,
 broadcast or otherwise exploit the Service or any portion of the Service,
 except as expressly permitted in these Terms. No licenses or rights are
 granted to you by implication or otherwise under any intellectual
 property rights owned or controlled by the Company or its licensors,
 except for the permissions and rights expressly granted in these Terms.

 Company reserves the right to modify or discontinue, temporarily or
 permanently, the Service (or any part thereof) with or without notice.
 The Company reserves the right to refuse any user access to the Services
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 without notice for any reason, including but not limited to a violation
 of the Terms.

 If you violate these Terms, the Company reserves the right to issue you a
 warning regarding the violation or immediately terminate or suspend any
 or all Accounts you have created using the Service. You agree that the
 Company need not provide you notice before terminating or suspending your
 Account(s), but it may do so.

 # Fees

 We will not charge you a fee to use the basic functionality of the
 Service. However, you may have to pay a fee to use certain features of
 the Service or to obtain Virtual Currency or Virtual Goods (as defined
 and discussed further below).

 The price for utilizing these features or obtaining such Virtual Currency
 or Virtual Goods will be displayed on the App. Payments of such fees will
 be governed by your app store’s terms applicable to in-app purchases.

 You are responsible for determining and paying the appropriate government
 taxes, fees, and service charges resulting from a transaction occurring
 through the Service. We are not responsible for collecting, reporting,
 paying, or remitting to you any such taxes, fees, or service charges,
 except as may otherwise be required by law.

 # Your Account

 You are responsible for your log-in credentials and for any activity
 resulting from the use of your log-in credentials or other activity on
 your account (“Account”) on the Service.

 Upon launching the App or the Service, if you do not already have an
 Account, you will be prompted to create one by providing a username and
 in some cases a password. You may also be required to provide a valid
 email address or other information to access or utilize certain
 applications or features.

 You represent and warrant that the information you provide to us upon
 registration and at all other times will be true, accurate, current, and
 complete. We reserve the right to reject any username or to terminate
 your username or prevent use of a username in our sole discretion, and
 without any liability to you. You understand and agree that other users
 of the Service may have the same username as you, however, users will be
 differentiated by a number identifier that may or may not be visible to
 you or other users. You will ensure that your e-mail address is kept
 accurate and up-to-date at all times. If we allow you to use the App
 without creating an Account (e.g., if we make available a single-session
 use feature), any username you select for use in connection with the App
 will be available for other users after your session ends.

 You are responsible for maintaining the confidentiality of your log-in
 credentials and are fully responsible for all activities that occur
 through the use of your credentials or otherwise on your Account. You
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  agree to notify us immediately if you believe the confidentiality of your
  log-in credentials has been compromised or if you suspect unauthorized
  use of your Account. You agree that we will not be liable for any loss or
  damage arising from unauthorized use of your credentials.

  # Communications

  We may communicate with you by email or posting notice via the Service.
  You agree to receive email from us at the email address you provided to
  us for customer service-related purposes.

  By using the Service or providing information to us, you agree that we
  may communicate with you electronically regarding security, privacy, and
  administrative issues relating to your use of the Service.

  You may use the Service to send messages to other users of the Service.
  You agree that your use of the Service will not include sending
  unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
  a variety of means to block spammers and abusers from using the Service.
  If you believe spam originated from the Service, please email us
  immediately at [support@discordapp.com](mailto:support@discordapp.com).

  # Intellectual Property Rights

  All rights, title and interest in and to all materials that are part of
  the Service (including, but not limited to, designs, text, graphics,
  pictures, video, information, applications, software, music, sound and
  other files, and their selection and arrangement), except for Your Data,
  collectively referred to as the "Service Materials", are, as between the
  Company and you, owned by the Company and/or its third party licensors.
  You acknowledge and agree that you shall not acquire any ownership rights
  whatsoever by downloading Service Materials or by purchasing any Virtual
  Currency or Virtual Goods (each as defined below).

  You agree that you shall not modify, copy, distribute, frame, reproduce,
  republish, download, scrape, display, post, transmit, or sell in any form
  or by any means, in whole or in part, or otherwise exploit the Service
  Materials without our express prior written permission. You acknowledge
  that you do not acquire any ownership rights by using the Service or by
  accessing any Service Materials posted on the Service by the Company, or
  any derivative works thereof. All rights not expressly granted by these
  Terms are reserved by the Company and its licensors, and no license is
  granted hereunder by estoppel, implication or otherwise.

  # Your Data

  Any data, text, graphics, photographs and their selection and
  arrangement, and any other materials uploaded to the Service by you is
  “Your Data.” You represent and warrant that Your Data is original to you
  and that you exclusively own the rights to such content, including the
  right to grant all of the rights and licenses in these Terms without the
  Company incurring any third party obligations or liability arising out of
  its exercise of such rights and licenses. All of Your Data is your sole
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  responsibility and the Company is not responsible for any material that
  you upload, post, or otherwise make available.

  By uploading, distributing, transmitting or otherwise using Your Data
  with the Services, you grant to us a nonexclusive, transferable, royalty-
  free, sublicensable, and worldwide license to use Your Data, subject to
  the Company’s Privacy Policy.

  The Company does not guarantee the accuracy, quality, or integrity of any
  user content posted. By using the Service you acknowledge and accept that
  you may be exposed to material you find offensive or objectionable. You
  agree that the Company will not under any circumstances be liable for any
  user content, including, but not limited to, errors in any user content,
  or any loss or damage incurred by use of user content.

  The Company reserves the right to remove and permanently delete Your Data
  from the Service with or without notice for any reason or no reason. You
  may notify the Company of any user content that you believe violates
  these Terms, or other inappropriate user behavior, by emailing
  support@discordapp.com.

  # Virtual Currencies and Virtual Goods

  The Service may include an opportunity to obtain virtual currency
  ("Virtual Currency") or virtual goods ("Virtual Goods") that may require
  you to pay a fee using legal tender (that is, "real money") to obtain the
  Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
  final and is not refundable, exchangeable, transferable, except in the
  Company’s or the platform provider’s sole discretion. You may not
  purchase, sell, or exchange Virtual Currency outside the Service. Doing
  so is a violation of the Terms and may result in termination of your
  Account with the Service and/or legal action.

  The Company retains the right to modify, manage, control and/or eliminate
  Virtual Currency and/or Virtual Goods at its sole discretion. Prices and
  availability of Virtual Goods are subject to change without notice. We
  shall have no liability to you or any third party for the exercise of
  such rights. You shall have a limited, personal, non-transferable, non-
  sublicensable permission to use solely within the Service Virtual Goods
  and Virtual Currency that you have earned, purchased or otherwise
  obtained in a manner authorized by the Company. You have no other right,
  title or interest in or to any such Virtual Goods or Virtual Currency
  appearing or originating in the Service.

  # Rules of Conduct and Usage

  The Service provides communication channels such as forums, communities,
  or chat areas ("Communication Channels") designed to enable you to
  communicate with other Service users. The Company has no obligation to
  monitor these communication channels but it may do so in connection with
  providing the Service.

  The Company may also terminate or suspend your access to any
  Communication Channels at any time, without notice, for any reason. You
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  acknowledge that any user content (including without limitation chats,
  postings, or materials posted by users) on the Communication Channels is
  neither endorsed nor controlled by us. The Company will not under any
  circumstances be liable for any activity within Communication Channels.
  The Company is not responsible for information that you choose to share
  on the Communication Channels, or for the actions of other users.

  As a condition of your use of the Service, and without limiting your
  other obligations under these Terms, you agree to comply with the
  restrictions and rules of use set forth in these Terms as well as any
  additional restrictions or rules (such as application-specific rules) set
  forth in the Service.

  As an example, you agree not to use the Service in order to:

  - post, upload, transmit or otherwise disseminate information that is
  obscene, indecent, vulgar, pornographic, sexual or otherwise
  objectionable;

  - defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
  abuse anyone;

  - upload or transmit (or attempt to upload or transmit) files that
  contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
  files or data, or any other similar software or programs that may damage
  the operation of the Service or other users' computers;

  - violate the contractual, personal, intellectual property or other
  rights of any party including using, uploading, transmitting,
  distributing, or otherwise making available any information made
  available through the Service in any manner that infringes any copyright,
  trademark, patent, trade secret, or other right of any party (including
  rights of privacy or publicity);

  - attempt to obtain passwords or other private information from other
  members;

  - improperly use support channels or complaint buttons to make false
  reports to us;

  - develop, distribute, or publicly inform other members of "auto"
  software programs, "macro" software programs or other "cheat utility"
  software program or applications in violation of the applicable license
  agreements;

  - exploit, distribute or publicly inform other members of any game error,
  miscue or bug which gives an unintended advantage; or

  - violate any applicable laws or regulations, or promote or encourage any
  illegal activity including, but not limited to, hacking, cracking or
  distribution of counterfeit software, or cheats or hacks for the Service.

  These rules of use are not meant to be exhaustive, and we reserve the
  right to determine what conduct we consider to be a violation of the
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  Terms or improper use of the Service and to take action including
  termination of your Account and exclusion from further participation in
  the Service.

  # Feedback

  We appreciate hearing from our users and welcome your comments regarding
  the Service. Please be advised, however, that if you send to us any
  comments, suggestions or recommendations regarding the Service
  (“Feedback“ ) you hereby assign to us all rights, title and interest in
  and to the Feedback. Accordingly, your Feedback will not be subject to
  any obligation of confidentiality and we will not be liable to you for
  any use or disclosure of any Feedback. Also, we will be entitled to
  unrestricted use of the Feedback for any purpose whatsoever, commercial
  or otherwise, without compensation to you or any other person.

  # Third-Party Services

  We use third-party services to help us provide the Service, but such use
  does not indicate that we endorse them or are responsible or liable for
  their actions. In addition, the Service may link to third-party websites
  to facilitate its provision of services to you. If you use these links,
  you will leave the Service. Some of these third-party websites may use
  Service Materials under license from us. We are not responsible for nor
  do we endorse these third-party websites or the organizations sponsoring
  such third-party websites or their products or services, whether or not
  we are affiliated with such third-party websites. You agree that we are
  not responsible or liable for any loss or damage of any sort incurred as
  a result of any such dealings you may have on or through a third-party
  website or as a result of the presence of any third-party advertising on
  the Service.

  # Termination

  You may terminate your Account at any time and for any reason by sending
  an email to [support@discordapp.com](mailto:support@discordapp.com).

  The Company may terminate your Account and your access to the Service
  (or, at the Company's sole option, applicable portions of the Service) at
  any time and for any reason. The Company is not required to provide you
  with any notice or warning prior to any such termination.

  You may, as the result of termination, lose your Account and all
  information and data associated therewith, including without limitation
  your Virtual Currency and Virtual Goods, as applicable and the Company is
  under no obligation to compensate you for any such loss.

  # Disclaimer of Warranty

  THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" WITHOUT
  WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED, INCLUDING, BUT NOT
  LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
  PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. IN ADDITION, WHILE THE
  COMPANY ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
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  REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
  FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
  DISRUPTIONS, OR IMPERFECTIONS.

  # Limitation of Liability

  IN NO EVENT WILL THE COMPANY, BE LIABLE TO YOU OR TO ANY THIRD PERSON FOR
  ANY CONSEQUENTIAL, INCIDENTAL, SPECIAL, PUNITIVE OR OTHER INDIRECT
  DAMAGES, INCLUDING ANY LOST PROFITS OR LOST DATA, ARISING FROM YOUR USE
  OF THE SERVICE OR OTHER MATERIALS ON, ACCESSED THROUGH OR DOWNLOADED FROM
  THE SERVICE, WHETHER BASED ON WARRANTY, CONTRACT, TORT, OR ANY OTHER
  LEGAL THEORY, AND WHETHER OR NOT THE COMPANY HAS BEEN ADVISED OF THE
  POSSIBILITY OF THESE DAMAGES.

  THE COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE AMOUNT YOU HAVE
  PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE THREE (3) MONTHS
  IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT A CLAIM. YOU
  ACKNOWLEDGE AND AGREE THAT IF YOU HAVE NOT PAID ANY AMOUNT TO US DURING
  SUCH TIME PERIOD, YOUR SOLE REMEDY (AND THE COMPANY’S EXCLUSIVE
  LIABILITY) FOR ANY DISPUTE WITH THE COMPANY IS TO STOP USING THE SERVICE
  AND TO TERMINATE YOUR ACCOUNT.

  The foregoing exclusions and limitations of liability shall apply to the
  fullest extent permitted by law in the applicable jurisdiction. You
  specifically acknowledge that the Company shall not be liable for user
  content, including without limitation Your Data, or the defamatory,
  offensive, or illegal conduct of any third party and that the risk of
  harm or damage from the foregoing rests entirely with you.

  # Indemnification

  You agree to indemnify and hold the Company, harmless from and against
  any loss, liability, claim, demand, damages, costs and expenses,
  including reasonable attorney's fees, arising out of or in connection
  with (i) your use of and access to the Service; (ii) your violation of
  any term of these Terms; (iii) your violation of any third party right,
  including without limitation any copyright, property, or privacy right or
  any third party agreement; or (iv) any of Your Data or information in
  your Account or any other information you post or share on or through the
  Service. As used in this section, "you" shall include anyone accessing
  the Service using your password.

  # International Use; Export Controls

  Software available in connection with the Service and the transmission of
  applicable data, if any, is subject to United States export controls. No
  software may be downloaded from the Service or otherwise exported or re-
  exported in violation of U.S. export laws. Downloading or using the
  software is at your sole risk. Recognizing the global nature of the
  Internet, you agree to comply with all local rules and laws regarding
  your use of the Service, including as it concerns online conduct and
  acceptable content.

  # IOS Applications
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  The following additional terms and conditions apply with respect to any
  App that the Company provides to you designed for use on an Apple iOS-
  powered mobile device (an “iOS App”):

  - You acknowledge that these Terms are between you and Discord only, and
  not with Apple, Inc. (“Apple”).

  - Your use of the Company’s iOS App must comply with Apple’s then-current
  App Store Terms of Service.

  - the Company, and not Apple, are solely responsible for our iOS App and
  the Services and Content available thereon. You acknowledge that Apple
  has no obligation to provide maintenance and support services with
  respect to our iOS App. To the maximum extent permitted by applicable
  law, Apple will have no warranty obligation whatsoever with respect to
  our iOS App.

  - You agree that the Company, and not Apple, are responsible for
  addressing any claims by you or any third-party relating to our iOS App
  or your possession and/or use of our iOS App.

  - You agree that the Company, and not Apple, shall be responsible, to the
  extent required by these Terms, for the investigation, defense,
  settlement and discharge of any third-party intellectual property
  infringement claim related to our iOS App or your possession and use of
  our iOS App.

  - You represent and warrant that (i) you are not located in a country
  that is subject to a U.S. Government embargo, or that has been designated
  by the U.S. Government as a “terrorist supporting” country; and (ii) You
  are not listed on any U.S. Government list of prohibited or restricted
  parties.

  - You agree to comply with all applicable third-party terms of agreement
  when using our iOS App (e.g., you must not be in violation of your
  wireless data service terms of agreement when using the iOS App).

  - The parties agree that Apple and Apple’s subsidiaries are third-party
  beneficiaries to these Terms as they relate to your license of the
  Company’s iOS App. Upon your acceptance of these Terms, Apple will have
  the right (and will be deemed to have accepted the right) to enforce
  these Terms against you as they relate to your license of the iOS App as
  a third-party beneficiary thereof.

  # User Disputes

  You are solely responsible for your interaction with other users of the
  Service and other parties that you come in contact with through the
  Service. The Company hereby disclaims any and all liability to you or any
  third party relating to your use of the Service. The Company reserves the
  right, but has no obligation, to manage disputes between you and other
  users of the Service.
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  # Copyright

  Copyright Complaints: The Company respects the intellectual property of
  others, and we ask our users to do the same. If you believe that your
  work has been copied in a way that constitutes copyright infringement, or
  that your intellectual property rights have been otherwise violated, you
  should notify the Company of your infringement claim in accordance with
  the procedure set forth below.

  The Company will process and investigate notices of alleged infringement
  and will take appropriate actions under the Digital Millennium Copyright
  Act (“DMCA”) and other applicable intellectual property laws with respect
  to any alleged or actual infringement. A notification of claimed
  copyright infringement should be emailed to the Company’s Copyright Agent
  at ruth@hammerandchisel.com (Subject line: “DMCA Takedown Request”).
  You may also contact us by mail at:

  Discord, Attention: DMCA Takedown Request, 1901 S Bascom Ave. Suite
  1180, Campbell, CA 95080.

  To be effective, the notification must be in writing and contain the
  following information:

  - an electronic or physical signature of the person authorized to act on
  behalf of the owner of the copyright or other intellectual property
  interest;

  - a description of the copyrighted work or other intellectual property
  that you claim has been infringed;

  - a description of where the material that you claim is infringing is
  located on the Service, with enough detail that we may find it on the
  Service;

  - your address, telephone number, and email address;

  - a statement by you that you have a good faith belief that the disputed
  use is not authorized by the copyright or intellectual property owner,
  its agent, or the law;

  - a statement by you, made under penalty of perjury, that the above
  information in your Notice is accurate and that you are the copyright or
  intellectual property owner or authorized to act on the copyright or
  intellectual property owner’s behalf.

  Counter-Notice: If you believe that Your Data that was removed (or to
  which access was disabled) is not infringing, or that you have the
  authorization from the copyright owner, the copyright owner’s agent, or
  pursuant to the law, to upload and use the content in Your Data, you may
  send a written counter-notice containing the following information to the
  Copyright Agent:

  - your physical or electronic signature;
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  - identification of the content that has been removed or to which access
  has been disabled and the location at which the content appeared before
  it was removed or disabled;

  - a statement that you have a good faith belief that the content was
  removed or disabled as a result of mistake or a misidentification of the
  content; and

  - your name, address, telephone number, and email address, a statement
  that you consent to the jurisdiction of the federal court located within
  the Northern District of California and a statement that you will accept
  service of process from the person who provided notification of the
  alleged infringement.

  If a counter-notice is received by the Copyright Agent, the Company will
  send a copy of the counter-notice to the original complaining party
  informing that person that it may replace the removed content or cease
  disabling it in 10 business days. Unless the copyright owner files an
  action seeking a court order against the content provider, member or
  user, the removed content may be replaced, or access to it restored, in
  10 to 14 business days or more after receipt of the counter-notice, at
  our sole discretion.

  Repeat Infringer Policy: In accordance with the DMCA and other
  applicable law, the Company has adopted a policy of terminating, in
  appropriate circumstances and at the Company's sole discretion, users who
  are deemed to be repeat infringers. The Company may also at its sole
  discretion limit access to the Service and/or terminate the memberships
  of any users who infringe any intellectual property rights of others,
  whether or not there is any repeat infringement

  # Arbitration

  At the Company’s or your election, all disputes, claims, or controversies
  arising out of or relating to the Terms of Service or the Service that
  are not resolved by mutual agreement may be resolved by binding
  arbitration to be conducted before JAMS, or its successor. Unless
  otherwise agreed by the parties, arbitration will be held in Santa Clara
  County, California before a single arbitrator mutually agreed upon by the
  parties, or if the parties cannot mutually agree, a single arbitrator
  appointed by JAMS, and will be conducted in accordance with the rules and
  regulations promulgated by JAMS unless specifically modified in the Terms
  of Service. The arbitration must commence within forty-five (45) days of
  the date on which a written demand for arbitration is filed by either
  party. The arbitrator’s decision and award will be made and delivered
  within sixty (60) days of the conclusion of the arbitration and within
  six (6) months of the selection of the arbitrator. The arbitrator will
  not have the power to award damages in excess of the limitation on actual
  compensatory, direct damages set forth in the Terms of Service and may
  not multiply actual damages or award punitive damages or any other
  damages that are specifically excluded under the Terms of Service, and
  each party hereby irrevocably waives any claim to such damages. The
  arbitrator may, in his or her discretion, assess costs and expenses
  (including the reasonable legal fees and expenses of the prevailing
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  party) against any party to a proceeding. Any party refusing to comply
  with an order of the arbitrators will be liable for costs and expenses,
  including attorneys’ fees, incurred by the other party in enforcing the
  award. Notwithstanding the foregoing, in the case of temporary or
  preliminary injunctive relief, any party may proceed in court without
  prior arbitration for the purpose of avoiding immediate and irreparable
  harm. The provisions of this arbitration section will be enforceable in
  any court of competent jurisdiction.

  Notwithstanding the provisions of the introductory section above, if the
  Company changes this ‘Arbitration’ section after the date you first
  accepted these Terms of Service (or accepted any subsequent changes to
  these Terms of Service), you may reject any such change by sending us
  written notice within 30 days of the date such change became effective,
  as indicated in the “Date of Last Revision” date above or in the date of
  the Company’s email to you notifying you of such change. By rejecting any
  change, you are agreeing that you will arbitrate any dispute between you
  and the Company in accordance with the provisions of this section as of
  the date you first accepted these Terms of Service (or accepted any
  subsequent changes to these Terms of Service).

  # General

  By visiting or using the Service, you agree that the laws of the United
  States and the State of California, without regard to principles of
  conflict of laws and regardless of your location, will govern these Terms
  and any dispute of any sort that might arise between you and the Company.
  Any claim or dispute between you and the Company that arises in whole or
  in part from these Terms or your use of the Service that is not subject
  to arbitration shall be decided exclusively by a court of competent
  jurisdiction located in Santa Clara County, California, and you hereby
  consent to, and waive all defenses of lack of personal jurisdiction and
  forum non conveniens with respect to venue and jurisdiction in the state
  and federal courts of Santa Clara County, California.

  EACH OF THE PARTIES HERETO IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL
  BY JURY OR TO PARTICIPATE IN A CLASS ACTION IN ANY LEGAL PROCEEDING
  ARISING OUT OF OR RELATING TO THESE TERMS OR THE TRANSACTIONS
  CONTEMPLATED HEREBY.

  You acknowledge that the rights granted and obligations made to the
  Company under these Terms are of a unique and irreplaceable nature, the
  loss of which may result in immediate and irreparable harm to the Company
  for which remedies at law are inadequate. The Company shall therefore be
  entitled to seek injunctive or other equitable relief (without the
  obligation to post any bond or surety) in the event of any breach or
  anticipatory breach by you. You irrevocably waive all rights to seek
  injunctive or other equitable relief.

  You agree to be responsible for obtaining and maintaining all telephone,
  computer hardware mobile devices and other equipment needed for access to
  and use of the Service, and all charges related thereto.
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  These Terms constitute the entire agreement between you and the Company
  with respect to your use of the Service and any other subject matter
  hereof and cannot be changed or modified by you except as expressly
  posted on the Service by the Company. You also may be subject to
  additional terms and conditions that may apply when you use affiliate or
  third party services, third party content or third party software. The
  failure of the Company to exercise or enforce any right or provision of
  these Terms shall not constitute a waiver of such right or provision, and
  no waiver by either party of any breach or default hereunder shall be
  deemed to be a waiver of any preceding or subsequent breach or default.
  If any provision of these Terms is found by a court of competent
  jurisdiction to be invalid, the parties nevertheless agree that the court
  should endeavor to give effect to the parties' intentions as reflected in
  the provision, and the other provisions of these Terms shall remain in
  full force and effect. Neither the course of conduct between the parties
  nor trade practice will act to modify these Terms. These Terms may not be
  assigned by you without the Company's prior written consent, but are
  freely assignable by the Company. The section headings used herein are
  for convenience only and shall not be given any legal import. Upon the
  Company's request, you will furnish the Company with any documentation,
  substantiation or releases necessary to verify your compliance with these
  Terms. You agree that these Terms will not be construed against the
  Company by virtue of having drafted them. You hereby waive any and all
  defenses you may have based on the electronic form of these Terms and the
  lack of signing by the parties hereto to execute these Terms.

  You agree that the provisions of these Terms that by their nature should
  survive termination will survive any termination of these Terms.
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                              EXHIBIT D
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  # Discord Terms of Service

  Last modified:   September 12, 2015.

  # Introduction and Accepting the Terms

  Welcome to Discord!

  These Terms of Service (“Terms”), which include and hereby incorporate
  the Privacy Policy at [discordapp.com/privacy](/privacy) (“Privacy
  Policy”), are a legal agreement between Discord Inc. and its related
  companies (the “Company” or "we") and you ("you"). By using or accessing
  the Discord application (the “App”) or the website located at
  https://discordapp.com (the "Site"), which are collectively referred to
  as the “Service,” you agree (i) that you are 13 years of age or older,
  (ii) if you are the age of majority in your jurisdiction or over, that
  you have read, understood, and accept to be bound by the Terms, and (iii)
  if you are between 13 and the age of majority in your jurisdiction, that
  your legal guardian has reviewed and agrees to these Terms.

  The Company reserves the right, in its sole discretion, to modify or
  revise these Terms at any time, and you agree to be bound by such
  modifications or revisions. Any such change or modification will be
  effective immediately upon posting on the Service, and your continued use
  of the Service after any changes or modifications to these Terms are
  posted will constitute your acceptance of, and agreement to, such changes
  or modifications. If you object to any change or modification, your sole
  recourse shall be to cease using the Service.

  # Rights to Use the Service

  The Service provides a social online and mobile chat platform via the App
  and related Internet services. The Service may allow you to participate
  in public and private chat rooms and to utilize messaging features to
  communicate with other users of the Service. Subject to your compliance
  with these Terms, the Company grants you a limited, revocable, non-
  exclusive, non-transferable, non-sublicensable license to use and access
  the Service, solely for your personal, non-commercial use.

  You agree not to (and not to attempt to) (i) use the Service for any use
  or purpose other than as expressly permitted by these Terms or (ii) copy,
  adapt, modify, prepare derivative works based upon, distribute, license,
  sell, transfer, publicly display, publicly perform, transmit, stream,
  broadcast or otherwise exploit the Service or any portion of the Service,
  except as expressly permitted in these Terms. No licenses or rights are
  granted to you by implication or otherwise under any intellectual
  property rights owned or controlled by the Company or its licensors,
  except for the permissions and rights expressly granted in these Terms.

  Company reserves the right to modify or discontinue, temporarily or
  permanently, the Service (or any part thereof) with or without notice.
  The Company reserves the right to refuse any user access to the Services
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  without notice for any reason, including but not limited to a violation
  of the Terms.

  If you violate these Terms, the Company reserves the right to issue you a
  warning regarding the violation or immediately terminate or suspend any
  or all Accounts you have created using the Service. You agree that the
  Company need not provide you notice before terminating or suspending your
  Account(s), but it may do so.

  # Fees

  We will not charge you a fee to use the basic functionality of the
  Service. However, you may have to pay a fee to use certain features of
  the Service or to obtain Virtual Currency or Virtual Goods (as defined
  and discussed further below).

  The price for utilizing these features or obtaining such Virtual Currency
  or Virtual Goods will be displayed on the App. Payments of such fees will
  be governed by your app store’s terms applicable to in-app purchases.

  You are responsible for determining and paying the appropriate government
  taxes, fees, and service charges resulting from a transaction occurring
  through the Service. We are not responsible for collecting, reporting,
  paying, or remitting to you any such taxes, fees, or service charges,
  except as may otherwise be required by law.

  # Your Account

  You are responsible for your log-in credentials and for any activity
  resulting from the use of your log-in credentials or other activity on
  your account (“Account”) on the Service.

  Upon launching the App or the Service, if you do not already have an
  Account, you will be prompted to create one by providing a username and
  in some cases a password. You may also be required to provide a valid
  email address or other information to access or utilize certain
  applications or features.

  You represent and warrant that the information you provide to us upon
  registration and at all other times will be true, accurate, current, and
  complete. We reserve the right to reject any username or to terminate
  your username or prevent use of a username in our sole discretion, and
  without any liability to you. You understand and agree that other users
  of the Service may have the same username as you, however, users will be
  differentiated by a number identifier that may or may not be visible to
  you or other users. You will ensure that your e-mail address is kept
  accurate and up-to-date at all times. If we allow you to use the App
  without creating an Account (e.g., if we make available a single-session
  use feature), any username you select for use in connection with the App
  will be available for other users after your session ends.

  You are responsible for maintaining the confidentiality of your log-in
  credentials and are fully responsible for all activities that occur
  through the use of your credentials or otherwise on your Account. You
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  agree to notify us immediately if you believe the confidentiality of your
  log-in credentials has been compromised or if you suspect unauthorized
  use of your Account. You agree that we will not be liable for any loss or
  damage arising from unauthorized use of your credentials.

  # Communications

  We may communicate with you by email or posting notice via the Service.
  You agree to receive email from us at the email address you provided to
  us for customer service-related purposes.

  By using the Service or providing information to us, you agree that we
  may communicate with you electronically regarding security, privacy, and
  administrative issues relating to your use of the Service.

  You may use the Service to send messages to other users of the Service.
  You agree that your use of the Service will not include sending
  unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
  a variety of means to block spammers and abusers from using the Service.
  If you believe spam originated from the Service, please email us
  immediately at [support@discordapp.com](mailto:support@discordapp.com).

  # Intellectual Property Rights

  All rights, title and interest in and to all materials that are part of
  the Service (including, but not limited to, designs, text, graphics,
  pictures, video, information, applications, software, music, sound and
  other files, and their selection and arrangement), except for Your Data,
  collectively referred to as the "Service Materials", are, as between the
  Company and you, owned by the Company and/or its third party licensors.
  You acknowledge and agree that you shall not acquire any ownership rights
  whatsoever by downloading Service Materials or by purchasing any Virtual
  Currency or Virtual Goods (each as defined below).

  You agree that you shall not modify, copy, distribute, frame, reproduce,
  republish, download, scrape, display, post, transmit, or sell in any form
  or by any means, in whole or in part, or otherwise exploit the Service
  Materials without our express prior written permission. You acknowledge
  that you do not acquire any ownership rights by using the Service or by
  accessing any Service Materials posted on the Service by the Company, or
  any derivative works thereof. All rights not expressly granted by these
  Terms are reserved by the Company and its licensors, and no license is
  granted hereunder by estoppel, implication or otherwise.

  # Your Data

  Any data, text, graphics, photographs and their selection and
  arrangement, and any other materials uploaded to the Service by you is
  “Your Data.” You represent and warrant that Your Data is original to you
  and that you exclusively own the rights to such content, including the
  right to grant all of the rights and licenses in these Terms without the
  Company incurring any third party obligations or liability arising out of
  its exercise of such rights and licenses. All of Your Data is your sole
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  responsibility and the Company is not responsible for any material that
  you upload, post, or otherwise make available.

  By uploading, distributing, transmitting or otherwise using Your Data
  with the Services, you grant to us a nonexclusive, transferable, royalty-
  free, sublicensable, and worldwide license to use Your Data, subject to
  the Company’s Privacy Policy.

  The Company does not guarantee the accuracy, quality, or integrity of any
  user content posted. By using the Service you acknowledge and accept that
  you may be exposed to material you find offensive or objectionable. You
  agree that the Company will not under any circumstances be liable for any
  user content, including, but not limited to, errors in any user content,
  or any loss or damage incurred by use of user content.

  The Company reserves the right to remove and permanently delete Your Data
  from the Service with or without notice for any reason or no reason. You
  may notify the Company of any user content that you believe violates
  these Terms, or other inappropriate user behavior, by emailing
  support@discordapp.com.

  # Virtual Currencies and Virtual Goods

  The Service may include an opportunity to obtain virtual currency
  ("Virtual Currency") or virtual goods ("Virtual Goods") that may require
  you to pay a fee using legal tender (that is, "real money") to obtain the
  Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
  final and is not refundable, exchangeable, transferable, except in the
  Company’s or the platform provider’s sole discretion. You may not
  purchase, sell, or exchange Virtual Currency outside the Service. Doing
  so is a violation of the Terms and may result in termination of your
  Account with the Service and/or legal action.

  The Company retains the right to modify, manage, control and/or eliminate
  Virtual Currency and/or Virtual Goods at its sole discretion. Prices and
  availability of Virtual Goods are subject to change without notice. We
  shall have no liability to you or any third party for the exercise of
  such rights. You shall have a limited, personal, non-transferable, non-
  sublicensable permission to use solely within the Service Virtual Goods
  and Virtual Currency that you have earned, purchased or otherwise
  obtained in a manner authorized by the Company. You have no other right,
  title or interest in or to any such Virtual Goods or Virtual Currency
  appearing or originating in the Service.

  # Rules of Conduct and Usage

  The Service provides communication channels such as forums, communities,
  or chat areas ("Communication Channels") designed to enable you to
  communicate with other Service users. The Company has no obligation to
  monitor these communication channels but it may do so in connection with
  providing the Service.

  The Company may also terminate or suspend your access to any
  Communication Channels at any time, without notice, for any reason. You
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  acknowledge that any user content (including without limitation chats,
  postings, or materials posted by users) on the Communication Channels is
  neither endorsed nor controlled by us. The Company will not under any
  circumstances be liable for any activity within Communication Channels.
  The Company is not responsible for information that you choose to share
  on the Communication Channels, or for the actions of other users.

  As a condition of your use of the Service, and without limiting your
  other obligations under these Terms, you agree to comply with the
  restrictions and rules of use set forth in these Terms as well as any
  additional restrictions or rules (such as application-specific rules) set
  forth in the Service.

  As an example, you agree not to use the Service in order to:

  - post, upload, transmit or otherwise disseminate information that is
  obscene, indecent, vulgar, pornographic, sexual or otherwise
  objectionable;

  - defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
  abuse anyone;

  - upload or transmit (or attempt to upload or transmit) files that
  contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
  files or data, or any other similar software or programs that may damage
  the operation of the Service or other users' computers;

  - violate the contractual, personal, intellectual property or other
  rights of any party including using, uploading, transmitting,
  distributing, or otherwise making available any information made
  available through the Service in any manner that infringes any copyright,
  trademark, patent, trade secret, or other right of any party (including
  rights of privacy or publicity);

  - attempt to obtain passwords or other private information from other
  members;

  - improperly use support channels or complaint buttons to make false
  reports to us;

  - develop, distribute, or publicly inform other members of "auto"
  software programs, "macro" software programs or other "cheat utility"
  software program or applications in violation of the applicable license
  agreements;

  - exploit, distribute or publicly inform other members of any game error,
  miscue or bug which gives an unintended advantage; or

  - violate any applicable laws or regulations, or promote or encourage any
  illegal activity including, but not limited to, hacking, cracking or
  distribution of counterfeit software, or cheats or hacks for the Service.

  These rules of use are not meant to be exhaustive, and we reserve the
  right to determine what conduct we consider to be a violation of the
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  Terms or improper use of the Service and to take action including
  termination of your Account and exclusion from further participation in
  the Service.

  # Feedback

  We appreciate hearing from our users and welcome your comments regarding
  the Service. Please be advised, however, that if you send to us any
  comments, suggestions or recommendations regarding the Service
  (“Feedback“ ) you hereby assign to us all rights, title and interest in
  and to the Feedback. Accordingly, your Feedback will not be subject to
  any obligation of confidentiality and we will not be liable to you for
  any use or disclosure of any Feedback. Also, we will be entitled to
  unrestricted use of the Feedback for any purpose whatsoever, commercial
  or otherwise, without compensation to you or any other person.

  # Third-Party Services

  We use third-party services to help us provide the Service, but such use
  does not indicate that we endorse them or are responsible or liable for
  their actions. In addition, the Service may link to third-party websites
  to facilitate its provision of services to you. If you use these links,
  you will leave the Service. Some of these third-party websites may use
  Service Materials under license from us. We are not responsible for nor
  do we endorse these third-party websites or the organizations sponsoring
  such third-party websites or their products or services, whether or not
  we are affiliated with such third-party websites. You agree that we are
  not responsible or liable for any loss or damage of any sort incurred as
  a result of any such dealings you may have on or through a third-party
  website or as a result of the presence of any third-party advertising on
  the Service.

  # Termination

  You may terminate your Account at any time and for any reason by sending
  an email to [support@discordapp.com](mailto:support@discordapp.com).

  The Company may terminate your Account and your access to the Service
  (or, at the Company's sole option, applicable portions of the Service) at
  any time and for any reason. The Company is not required to provide you
  with any notice or warning prior to any such termination.

  You may, as the result of termination, lose your Account and all
  information and data associated therewith, including without limitation
  your Virtual Currency and Virtual Goods, as applicable and the Company is
  under no obligation to compensate you for any such loss.

  # Disclaimer of Warranty

  THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" WITHOUT
  WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED, INCLUDING, BUT NOT
  LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
  PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. IN ADDITION, WHILE THE
  COMPANY ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
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  REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
  FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
  DISRUPTIONS, OR IMPERFECTIONS.

  # Limitation of Liability

  IN NO EVENT WILL THE COMPANY, BE LIABLE TO YOU OR TO ANY THIRD PERSON FOR
  ANY CONSEQUENTIAL, INCIDENTAL, SPECIAL, PUNITIVE OR OTHER INDIRECT
  DAMAGES, INCLUDING ANY LOST PROFITS OR LOST DATA, ARISING FROM YOUR USE
  OF THE SERVICE OR OTHER MATERIALS ON, ACCESSED THROUGH OR DOWNLOADED FROM
  THE SERVICE, WHETHER BASED ON WARRANTY, CONTRACT, TORT, OR ANY OTHER
  LEGAL THEORY, AND WHETHER OR NOT THE COMPANY HAS BEEN ADVISED OF THE
  POSSIBILITY OF THESE DAMAGES.

  THE COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE AMOUNT YOU HAVE
  PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE THREE (3) MONTHS
  IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT A CLAIM. YOU
  ACKNOWLEDGE AND AGREE THAT IF YOU HAVE NOT PAID ANY AMOUNT TO US DURING
  SUCH TIME PERIOD, YOUR SOLE REMEDY (AND THE COMPANY’S EXCLUSIVE
  LIABILITY) FOR ANY DISPUTE WITH THE COMPANY IS TO STOP USING THE SERVICE
  AND TO TERMINATE YOUR ACCOUNT.

  The foregoing exclusions and limitations of liability shall apply to the
  fullest extent permitted by law in the applicable jurisdiction. You
  specifically acknowledge that the Company shall not be liable for user
  content, including without limitation Your Data, or the defamatory,
  offensive, or illegal conduct of any third party and that the risk of
  harm or damage from the foregoing rests entirely with you.

  # Indemnification

  You agree to indemnify and hold the Company, harmless from and against
  any loss, liability, claim, demand, damages, costs and expenses,
  including reasonable attorney's fees, arising out of or in connection
  with (i) your use of and access to the Service; (ii) your violation of
  any term of these Terms; (iii) your violation of any third party right,
  including without limitation any copyright, property, or privacy right or
  any third party agreement; or (iv) any of Your Data or information in
  your Account or any other information you post or share on or through the
  Service. As used in this section, "you" shall include anyone accessing
  the Service using your password.

  # International Use; Export Controls

  Software available in connection with the Service and the transmission of
  applicable data, if any, is subject to United States export controls. No
  software may be downloaded from the Service or otherwise exported or re-
  exported in violation of U.S. export laws. Downloading or using the
  software is at your sole risk. Recognizing the global nature of the
  Internet, you agree to comply with all local rules and laws regarding
  your use of the Service, including as it concerns online conduct and
  acceptable content.

  # IOS Applications
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  The following additional terms and conditions apply with respect to any
  App that the Company provides to you designed for use on an Apple iOS-
  powered mobile device (an “iOS App”):

  - You acknowledge that these Terms are between you and Discord only, and
  not with Apple, Inc. (“Apple”).

  - Your use of the Company’s iOS App must comply with Apple’s then-current
  App Store Terms of Service.

  - the Company, and not Apple, are solely responsible for our iOS App and
  the Services and Content available thereon. You acknowledge that Apple
  has no obligation to provide maintenance and support services with
  respect to our iOS App. To the maximum extent permitted by applicable
  law, Apple will have no warranty obligation whatsoever with respect to
  our iOS App.

  - You agree that the Company, and not Apple, are responsible for
  addressing any claims by you or any third-party relating to our iOS App
  or your possession and/or use of our iOS App.

  - You agree that the Company, and not Apple, shall be responsible, to the
  extent required by these Terms, for the investigation, defense,
  settlement and discharge of any third-party intellectual property
  infringement claim related to our iOS App or your possession and use of
  our iOS App.

  - You represent and warrant that (i) you are not located in a country
  that is subject to a U.S. Government embargo, or that has been designated
  by the U.S. Government as a “terrorist supporting” country; and (ii) You
  are not listed on any U.S. Government list of prohibited or restricted
  parties.

  - You agree to comply with all applicable third-party terms of agreement
  when using our iOS App (e.g., you must not be in violation of your
  wireless data service terms of agreement when using the iOS App).

  - The parties agree that Apple and Apple’s subsidiaries are third-party
  beneficiaries to these Terms as they relate to your license of the
  Company’s iOS App. Upon your acceptance of these Terms, Apple will have
  the right (and will be deemed to have accepted the right) to enforce
  these Terms against you as they relate to your license of the iOS App as
  a third-party beneficiary thereof.

  # User Disputes

  You are solely responsible for your interaction with other users of the
  Service and other parties that you come in contact with through the
  Service. The Company hereby disclaims any and all liability to you or any
  third party relating to your use of the Service. The Company reserves the
  right, but has no obligation, to manage disputes between you and other
  users of the Service.
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  # Copyright

  Copyright Complaints: The Company respects the intellectual property of
  others, and we ask our users to do the same. If you believe that your
  work has been copied in a way that constitutes copyright infringement, or
  that your intellectual property rights have been otherwise violated, you
  should notify the Company of your infringement claim in accordance with
  the procedure set forth below.

  The Company will process and investigate notices of alleged infringement
  and will take appropriate actions under the Digital Millennium Copyright
  Act (“DMCA”) and other applicable intellectual property laws with respect
  to any alleged or actual infringement. A notification of claimed
  copyright infringement should be emailed to the Company’s Copyright Agent
  at abuse@discordapp.com (Subject line: “DMCA Takedown Request”). You
  may also contact us by mail at:

  Discord, Attention: DMCA Takedown Request, 1901 S Bascom Ave. Suite
  1180, Campbell, CA 95080.

  To be effective, the notification must be in writing and contain the
  following information:

  - an electronic or physical signature of the person authorized to act on
  behalf of the owner of the copyright or other intellectual property
  interest;

  - a description of the copyrighted work or other intellectual property
  that you claim has been infringed;

  - a description of where the material that you claim is infringing is
  located on the Service, with enough detail that we may find it on the
  Service;

  - your address, telephone number, and email address;

  - a statement by you that you have a good faith belief that the disputed
  use is not authorized by the copyright or intellectual property owner,
  its agent, or the law;

  - a statement by you, made under penalty of perjury, that the above
  information in your Notice is accurate and that you are the copyright or
  intellectual property owner or authorized to act on the copyright or
  intellectual property owner’s behalf.

  Counter-Notice: If you believe that Your Data that was removed (or to
  which access was disabled) is not infringing, or that you have the
  authorization from the copyright owner, the copyright owner’s agent, or
  pursuant to the law, to upload and use the content in Your Data, you may
  send a written counter-notice containing the following information to the
  Copyright Agent:

  - your physical or electronic signature;
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  - identification of the content that has been removed or to which access
  has been disabled and the location at which the content appeared before
  it was removed or disabled;

  - a statement that you have a good faith belief that the content was
  removed or disabled as a result of mistake or a misidentification of the
  content; and

  - your name, address, telephone number, and email address, a statement
  that you consent to the jurisdiction of the federal court located within
  the Northern District of California and a statement that you will accept
  service of process from the person who provided notification of the
  alleged infringement.

  If a counter-notice is received by the Copyright Agent, the Company will
  send a copy of the counter-notice to the original complaining party
  informing that person that it may replace the removed content or cease
  disabling it in 10 business days. Unless the copyright owner files an
  action seeking a court order against the content provider, member or
  user, the removed content may be replaced, or access to it restored, in
  10 to 14 business days or more after receipt of the counter-notice, at
  our sole discretion.

  Repeat Infringer Policy: In accordance with the DMCA and other
  applicable law, the Company has adopted a policy of terminating, in
  appropriate circumstances and at the Company's sole discretion, users who
  are deemed to be repeat infringers. The Company may also at its sole
  discretion limit access to the Service and/or terminate the memberships
  of any users who infringe any intellectual property rights of others,
  whether or not there is any repeat infringement

  # Arbitration

  At the Company’s or your election, all disputes, claims, or controversies
  arising out of or relating to the Terms of Service or the Service that
  are not resolved by mutual agreement may be resolved by binding
  arbitration to be conducted before JAMS, or its successor. Unless
  otherwise agreed by the parties, arbitration will be held in Santa Clara
  County, California before a single arbitrator mutually agreed upon by the
  parties, or if the parties cannot mutually agree, a single arbitrator
  appointed by JAMS, and will be conducted in accordance with the rules and
  regulations promulgated by JAMS unless specifically modified in the Terms
  of Service. The arbitration must commence within forty-five (45) days of
  the date on which a written demand for arbitration is filed by either
  party. The arbitrator’s decision and award will be made and delivered
  within sixty (60) days of the conclusion of the arbitration and within
  six (6) months of the selection of the arbitrator. The arbitrator will
  not have the power to award damages in excess of the limitation on actual
  compensatory, direct damages set forth in the Terms of Service and may
  not multiply actual damages or award punitive damages or any other
  damages that are specifically excluded under the Terms of Service, and
  each party hereby irrevocably waives any claim to such damages. The
  arbitrator may, in his or her discretion, assess costs and expenses
  (including the reasonable legal fees and expenses of the prevailing
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  party) against any party to a proceeding. Any party refusing to comply
  with an order of the arbitrators will be liable for costs and expenses,
  including attorneys’ fees, incurred by the other party in enforcing the
  award. Notwithstanding the foregoing, in the case of temporary or
  preliminary injunctive relief, any party may proceed in court without
  prior arbitration for the purpose of avoiding immediate and irreparable
  harm. The provisions of this arbitration section will be enforceable in
  any court of competent jurisdiction.

  Notwithstanding the provisions of the introductory section above, if the
  Company changes this ‘Arbitration’ section after the date you first
  accepted these Terms of Service (or accepted any subsequent changes to
  these Terms of Service), you may reject any such change by sending us
  written notice within 30 days of the date such change became effective,
  as indicated in the “Date of Last Revision” date above or in the date of
  the Company’s email to you notifying you of such change. By rejecting any
  change, you are agreeing that you will arbitrate any dispute between you
  and the Company in accordance with the provisions of this section as of
  the date you first accepted these Terms of Service (or accepted any
  subsequent changes to these Terms of Service).

  # General

  By visiting or using the Service, you agree that the laws of the United
  States and the State of California, without regard to principles of
  conflict of laws and regardless of your location, will govern these Terms
  and any dispute of any sort that might arise between you and the Company.
  Any claim or dispute between you and the Company that arises in whole or
  in part from these Terms or your use of the Service that is not subject
  to arbitration shall be decided exclusively by a court of competent
  jurisdiction located in Santa Clara County, California, and you hereby
  consent to, and waive all defenses of lack of personal jurisdiction and
  forum non conveniens with respect to venue and jurisdiction in the state
  and federal courts of Santa Clara County, California.

  EACH OF THE PARTIES HERETO IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL
  BY JURY OR TO PARTICIPATE IN A CLASS ACTION IN ANY LEGAL PROCEEDING
  ARISING OUT OF OR RELATING TO THESE TERMS OR THE TRANSACTIONS
  CONTEMPLATED HEREBY.

  You acknowledge that the rights granted and obligations made to the
  Company under these Terms are of a unique and irreplaceable nature, the
  loss of which may result in immediate and irreparable harm to the Company
  for which remedies at law are inadequate. The Company shall therefore be
  entitled to seek injunctive or other equitable relief (without the
  obligation to post any bond or surety) in the event of any breach or
  anticipatory breach by you. You irrevocably waive all rights to seek
  injunctive or other equitable relief.

  You agree to be responsible for obtaining and maintaining all telephone,
  computer hardware mobile devices and other equipment needed for access to
  and use of the Service, and all charges related thereto.
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  These Terms constitute the entire agreement between you and the Company
  with respect to your use of the Service and any other subject matter
  hereof and cannot be changed or modified by you except as expressly
  posted on the Service by the Company. You also may be subject to
  additional terms and conditions that may apply when you use affiliate or
  third party services, third party content or third party software. The
  failure of the Company to exercise or enforce any right or provision of
  these Terms shall not constitute a waiver of such right or provision, and
  no waiver by either party of any breach or default hereunder shall be
  deemed to be a waiver of any preceding or subsequent breach or default.
  If any provision of these Terms is found by a court of competent
  jurisdiction to be invalid, the parties nevertheless agree that the court
  should endeavor to give effect to the parties' intentions as reflected in
  the provision, and the other provisions of these Terms shall remain in
  full force and effect. Neither the course of conduct between the parties
  nor trade practice will act to modify these Terms. These Terms may not be
  assigned by you without the Company's prior written consent, but are
  freely assignable by the Company. The section headings used herein are
  for convenience only and shall not be given any legal import. Upon the
  Company's request, you will furnish the Company with any documentation,
  substantiation or releases necessary to verify your compliance with these
  Terms. You agree that these Terms will not be construed against the
  Company by virtue of having drafted them. You hereby waive any and all
  defenses you may have based on the electronic form of these Terms and the
  lack of signing by the parties hereto to execute these Terms.

  You agree that the provisions of these Terms that by their nature should
  survive termination will survive any termination of these Terms.
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                              EXHIBIT E
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  # DISCORD TERMS OF SERVICE

  Last modified: May 9, 2017.

  # INTRODUCTION AND ACCEPTING THE TERMS

  Welcome to Discord!

  These Terms of Service (“Terms”), which include and hereby incorporate
  the Privacy Policy at discordapp.com/privacy (“Privacy Policy”), are a
  legal agreement between Discord Inc. and its related companies (the
  “Company” or "we") and you ("you"). By using or accessing the Discord
  application (the “App”) or the website located at https://discordapp.com
  (the "Site"), which are collectively referred to as the “Service,” you
  agree (i) that you are 13 years of age or older, (ii) if you are the age
  of majority in your jurisdiction or over, that you have read, understood,
  and accept to be bound by the Terms, and (iii) if you are between 13 and
  the age of majority in your jurisdiction, that your legal guardian has
  reviewed and agrees to these Terms.

  The Company reserves the right, in its sole discretion, to modify or
  revise these Terms at any time, and you agree to be bound by such
  modifications or revisions. Any such change or modification will be
  effective seven (7) days following posting on the Service, and your
  continued use of the Service after the effective date will constitute
  your acceptance of, and agreement to, such changes or modifications. If
  you object to any change or modification, your sole recourse shall be to
  cease using the Service.

  # RIGHTS TO USE THE SERVICE

  The Service provides a social online and mobile chat platform via the App
  and related Internet services. The Service may allow you to participate
  in public and private chat rooms and to utilize messaging features to
  communicate with other users of the Service. Subject to your compliance
  with these Terms, the Company grants you a limited, revocable, non-
  exclusive, non-transferable, non-sublicensable license to use and access
  the Service, solely for your personal, non-commercial use.

  You agree not to (and not to attempt to) (i) use the Service for any use
  or purpose other than as expressly permitted by these Terms or (ii) copy,
  adapt, modify, prepare derivative works based upon, distribute, license,
  sell, transfer, publicly display, publicly perform, transmit, stream,
  broadcast or otherwise exploit the Service or any portion of the Service,
  except as expressly permitted in these Terms. No licenses or rights are
  granted to you by implication or otherwise under any intellectual
  property rights owned or controlled by the Company or its licensors,
  except for the permissions and rights expressly granted in these Terms.

  Company reserves the right to modify or discontinue, temporarily or
  permanently, the Service (or any part thereof) with or without notice.
  The Company reserves the right to refuse any user access to the Services
  without notice for any reason, including but not limited to a violation
  of the Terms.
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  If you violate these Terms, the Company reserves the right to issue you a
  warning regarding the violation or immediately terminate or suspend any
  or all Accounts you have created using the Service. You agree that the
  Company need not provide you notice before terminating or suspending your
  Account(s), but it may do so.

  # FEES

  We will not charge you a fee to use the basic functionality of the
  Service. However, you may have to pay a fee to use certain features of
  the Service or to obtain Virtual Currency or Virtual Goods (as defined
  and discussed further below).

  The price for utilizing these features or obtaining such Virtual Currency
  or Virtual Goods will be displayed on the App. We may also require you to
  pay any amounts due via a third party payment service. Payments of such
  fees will be governed by your app store’s or such third party’s terms
  applicable to in-app purchases. You agree to comply with all such terms
  and other requirements of your app store or such third party.

  You are responsible for determining and paying the appropriate government
  taxes, fees, and service charges resulting from a transaction occurring
  through the Service. We are not responsible for collecting, reporting,
  paying, or remitting to you any such taxes, fees, or service charges,
  except as may otherwise be required by law.

  # YOUR ACCOUNT

  You are responsible for your log-in credentials and for any activity
  resulting from the use of your log-in credentials or other activity on
  your account (“Account”) on the Service.

  Upon launching the App or the Service, if you do not already have an
  Account, you will be prompted to create one by providing a username and
  in some cases a password. You may also be required to provide a valid
  email address or other information to access or utilize certain
  applications or features.

  You represent and warrant that the information you provide to us upon
  registration and at all other times will be true, accurate, current, and
  complete. We reserve the right to reject any username or to terminate
  your username or prevent use of a username in our sole discretion, and
  without any liability to you. You understand and agree that other users
  of the Service may have the same username as you, however, users will be
  differentiated by a number identifier that may or may not be visible to
  you or other users. You will ensure that your e-mail address is kept
  accurate and up-to-date at all times. If we allow you to use the App
  without creating an Account (e.g., if we make available a single-session
  use feature), any username you select for use in connection with the App
  will be available for other users after your session ends.

  You are responsible for maintaining the confidentiality of your log-in
  credentials and are fully responsible for all activities that occur
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  through the use of your credentials or otherwise on your Account. You
  agree to notify us immediately if you believe the confidentiality of your
  log-in credentials has been compromised or if you suspect unauthorized
  use of your Account. You agree that we will not be liable for any loss or
  damage arising from unauthorized use of your credentials.

  # COMMUNICATIONS

  We may communicate with you by email or posting notice via the Service.
  You agree to receive email from us at the email address you provided to
  us for customer service-related purposes. By using the Service or
  providing information to us, you agree that we may communicate with you
  electronically regarding security, privacy, and administrative issues
  relating to your use of the Service.

  You may use the Service to send messages to other users of the Service.
  You agree that your use of the Service will not include sending
  unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
  a variety of means to block spammers and abusers from using the Service.
  If you believe spam originated from the Service, please email us
  immediately at support@discordapp.com.

  # INTELLECTUAL PROPERTY RIGHTS

  All rights, title and interest in and to all materials that are part of
  the Service (including, but not limited to, designs, text, graphics,
  pictures, video, information, applications, software, music, sound and
  other files, and their selection and arrangement), except for Your
  Content, collectively referred to as the "Service Materials", are, as
  between the Company and you, owned by the Company and/or its third party
  licensors. You acknowledge and agree that you shall not acquire any
  ownership rights whatsoever by downloading Service Materials or by
  purchasing any Virtual Currency or Virtual Goods (each as defined below).

  You agree that you shall not modify, copy, distribute, frame, reproduce,
  republish, download, scrape, display, post, transmit, or sell in any form
  or by any means, in whole or in part, or otherwise exploit the Service
  Materials without our express prior written permission. You acknowledge
  that you do not acquire any ownership rights by using the Service or by
  accessing any Service Materials posted on the Service by the Company, or
  any derivative works thereof. All rights not expressly granted by these
  Terms are reserved by the Company and its licensors, and no license is
  granted hereunder by estoppel, implication or otherwise.

  # YOUR CONTENT

  Any data, text, graphics, photographs and their selection and
  arrangement, and any other materials uploaded to the Service by you is
  “Your Content.” You represent and warrant that Your Content is original
  to you and that you exclusively own the rights to such content, including
  the right to grant all of the rights and licenses in these Terms without
  the Company incurring any third party obligations or liability arising
  out of its exercise of such rights and licenses. All of Your Content is
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  your sole responsibility and the Company is not responsible for any
  material that you upload, post, or otherwise make available.

  By uploading, distributing, transmitting or otherwise using Your Content
  with the Service, you grant to us a perpetual, nonexclusive,
  transferable, royalty-free, sublicensable, and worldwide license to use,
  host, reproduce, modify, adapt, publish, translate, create derivative
  works from, distribute, perform, and display Your Content in connection
  with operating and providing the Service.

  The Company does not guarantee the accuracy, quality, or integrity of any
  user content posted. By using the Service you acknowledge and accept that
  you may be exposed to material you find offensive or objectionable. You
  agree that the Company will not under any circumstances be liable for any
  user content, including, but not limited to, errors in any user content,
  or any loss or damage incurred by use of user content.

  The Company reserves the right to remove and permanently delete Your
  Content from the Service with or without notice for any reason or no
  reason. You may notify the Company of any user content that you believe
  violates these Terms, or other inappropriate user behavior, by emailing
  abuse@discordapp.com.

  # VIRTUAL CURRENCIES AND VIRTUAL GOODS

  The Service may include an opportunity to obtain virtual currency
  ("Virtual Currency") or virtual goods ("Virtual Goods") that may require
  you to pay a fee using legal tender (that is, "real money") to obtain the
  Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
  final and is not refundable, exchangeable, transferable, except in the
  Company’s or the platform provider’s sole discretion. You may not
  purchase, sell, or exchange Virtual Currency outside the Service. Doing
  so is a violation of the Terms and may result in termination of your
  Account with the Service and/or legal action. The Company retains the
  right to modify, manage, control and/or eliminate Virtual Currency and/or
  Virtual Goods at its sole discretion. Prices and availability of Virtual
  Goods are subject to change without notice. We shall have no liability to
  you or any third party for the exercise of such rights. You shall have a
  limited, personal, non-transferable, non-sublicensable permission to use
  solely within the Service Virtual Goods and Virtual Currency that you
  have earned, purchased or otherwise obtained in a manner authorized by
  the Company. You have no other right, title or interest in or to any such
  Virtual Goods or Virtual Currency appearing or originating in the
  Service.

  # RULES OF CONDUCT AND USAGE

  The Service provides communication channels such as forums, communities,
  or chat areas ("Communication Channels") designed to enable you to
  communicate with other Service users. The Company has no obligation to
  monitor these communication channels but it may do so in connection with
  providing the Service.
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  The Company may also terminate or suspend your access to any
  Communication Channels at any time, without notice, for any reason. You
  acknowledge that any user content (including without limitation chats,
  postings, or materials posted by users) on the Communication Channels is
  neither endorsed nor controlled by us. The Company will not under any
  circumstances be liable for any activity within Communication Channels.
  The Company is not responsible for information that you choose to share
  on the Communication Channels, or for the actions of other users.

  As a condition of your use of the Service, and without limiting your
  other obligations under these Terms, you agree to comply with the
  restrictions and rules of use set forth in these Terms and our [Community
  Guidelines](http://www.discordapp.com/guidelines) as well as any
  additional restrictions or rules (such as application-specific rules) set
  forth in the Service.

  As an example, you agree not to use the Service in order to:

  - post, upload, transmit or otherwise disseminate information that is
  obscene, indecent, vulgar, pornographic, sexual or otherwise
  objectionable as outlined in our [Community
  Guidelines](http://www.discordapp.com/guidelines);

  - defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
  abuse anyone;

  - upload or transmit (or attempt to upload or transmit) files that
  contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
  files or data, or any other similar software or programs that may damage
  the operation of the Service or other users' computers;

  - violate the contractual, personal, intellectual property or other
  rights of any party including using, uploading, transmitting,
  distributing, or otherwise making available any information made
  available through the Service in any manner that infringes any copyright,
  trademark, patent, trade secret, or other right of any party (including
  rights of privacy or publicity);

  - attempt to obtain passwords or other private information from other
  members;

  - improperly use support channels or complaint buttons to make false
  reports to us;

  - develop, distribute, or publicly inform other members of "auto"
  software programs, "macro" software programs or other "cheat utility"
  software program or applications in violation of the applicable license
  agreements;

  - exploit, distribute or publicly inform other members of any game error,
  miscue or bug which gives an unintended advantage; or
  violate any applicable laws or regulations, or promote or encourage any
  illegal activity including, but not limited to, hacking, cracking or
  distribution of counterfeit software, or cheats or hacks for the Service.
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  These rules of use are not meant to be exhaustive, and we reserve the
  right to determine what conduct we consider to be a violation of the
  Terms, Community Guidelines or improper use of the Service and to take
  action including termination of your Account and exclusion from further
  participation in the Service.

  # FEEDBACK

  We appreciate hearing from our users and welcome your comments regarding
  the Service. Please be advised, however, that if you send to us any
  comments, suggestions or recommendations regarding the Service
  (“Feedback“ ) you hereby assign to us all rights, title and interest in
  and to the Feedback. Accordingly, your Feedback will not be subject to
  any obligation of confidentiality and we will not be liable to you for
  any use or disclosure of any Feedback. Also, we will be entitled to
  unrestricted use of the Feedback for any purpose whatsoever, commercial
  or otherwise, without compensation to you or any other person.

  # THIRD-PARTY SERVICES

  We use third-party services to help us provide the Service, but such use
  does not indicate that we endorse them or are responsible or liable for
  their actions. In addition, the Service may link to third-party websites
  to facilitate its provision of services to you. If you use these links,
  you will leave the Service. Some of these third-party websites may use
  Service Materials under license from us. We are not responsible for nor
  do we endorse these third-party websites or the organizations sponsoring
  such third-party websites or their products or services, whether or not
  we are affiliated with such third-party websites. You agree that we are
  not responsible or liable for any loss or damage of any sort incurred as
  a result of any such dealings you may have on or through a third-party
  website or as a result of the presence of any third-party advertising on
  the Service.

  # TERMINATION

  You may terminate your Account at any time and for any reason by sending
  an email to support@discordapp.com.

  The Company may terminate your Account and your access to the Service
  (or, at the Company's sole option, applicable portions of the Service) at
  any time and for any reason. The Company is not required to provide you
  with any notice or warning prior to any such termination. You may, as the
  result of termination, lose your Account and all information and data
  associated therewith, including without limitation your Virtual Currency
  and Virtual Goods, as applicable and the Company is under no obligation
  to compensate you for any such loss.

  # DISCLAIMER OF WARRANTY

  THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" WITHOUT
  WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED, INCLUDING, BUT NOT
  LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
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  PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. IN ADDITION, WHILE THE
  COMPANY ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
  REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
  FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
  DISRUPTIONS, OR IMPERFECTIONS. THE FOREGOING DISCLAIMERS SHALL APPLY TO
  THE EXTENT PERMITTED BY APPLICABLE LAW.

  # LIMITATION OF LIABILITY

  TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT WILL THE COMPANY, BE
  LIABLE TO YOU OR TO ANY THIRD PERSON FOR ANY CONSEQUENTIAL, INCIDENTAL,
  SPECIAL, PUNITIVE OR OTHER INDIRECT DAMAGES, INCLUDING ANY LOST PROFITS
  OR LOST DATA, ARISING FROM YOUR USE OF THE SERVICE OR OTHER MATERIALS ON,
  ACCESSED THROUGH OR DOWNLOADED FROM THE SERVICE, WHETHER BASED ON
  WARRANTY, CONTRACT, TORT, OR ANY OTHER LEGAL THEORY, AND WHETHER OR NOT
  THE COMPANY HAS BEEN ADVISED OF THE POSSIBILITY OF THESE DAMAGES.

  THE COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE GREATER OF (A)
  THE AMOUNT YOU HAVE PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE
  THREE (3) MONTHS IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT
  A CLAIM OR (B) $100.. THE LIMITATIONS AND DISCLAIMERS IN THESE TERMS DO
  NOT PURPORT TO LIMIT LIABILITY OR ALTER RIGHTS THAT CANNOT BE EXCLUDED
  UNDER APPLICABLE LAW. SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF
  IMPLIED WARRANTIES OR LIMITATION OF LIABILITY FOR INCIDENTAL OR
  CONSEQUENTIAL DAMAGES, WHICH MEANS THAT SOME OF THE ABOVE DISCLAIMERS AND
  LIMITATIONS MAY NOT APPLY TO YOU. IN THESE JURISDICTIONS, DISCORD’S
  LIABILITY WILL BE LIMITED TO THE GREATEST EXTENT PERMITTED BY LAW.

  You specifically acknowledge that the Company shall not be liable for
  user content, including without limitation Your Content, or the
  defamatory, offensive, or illegal conduct of any third party and that the
  risk of harm or damage from the foregoing rests entirely with you.

  # INDEMNIFICATION

  You agree to indemnify and hold the Company, harmless from and against
  any loss, liability, claim, demand, damages, costs and expenses,
  including reasonable attorney's fees, arising out of or in connection
  with (i) your use of and access to the Service; (ii) your violation of
  any term of these Terms; (iii) your violation of any third party right,
  including without limitation any copyright, property, or privacy right or
  any third party agreement; or (iv) any of Your Content or information in
  your Account or any other information you post or share on or through the
  Service. As used in this section, "you" shall include anyone accessing
  the Service using your password.

  # INTERNATIONAL USE; EXPORT CONTROLS

  Software available in connection with the Service and the transmission of
  applicable data, if any, is subject to United States export controls. No
  software may be downloaded from the Service or otherwise exported or re-
  exported in violation of U.S. export laws. Downloading or using the
  software is at your sole risk. Recognizing the global nature of the
  Internet, you agree to comply with all local rules and laws regarding
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  your use of the Service, including as it concerns online conduct and
  acceptable content.

  # IOS APPLICATIONS

  The following additional terms and conditions apply with respect to any
  App that the Company provides to you designed for use on an Apple iOS-
  powered mobile device (an “iOS App”):
  - You acknowledge that these Terms are between you and Discord only, and
  not with Apple, Inc. (“Apple”).

  - Your use of the Company’s iOS App must comply with Apple’s then-current
  App Store Terms of Service.

  - The Company, and not Apple, are solely responsible for our iOS App and
  the Services and Content available thereon. You acknowledge that Apple
  has no obligation to provide maintenance and support services with
  respect to our iOS App. To the maximum extent permitted by applicable
  law, Apple will have no warranty obligation whatsoever with respect to
  our iOS App.

  - You agree that the Company, and not Apple, are responsible for
  addressing any claims by you or any third-party relating to our iOS App
  or your possession and/or use of our iOS App.

  - You agree that the Company, and not Apple, shall be responsible, to the
  extent required by these Terms, for the investigation, defense,
  settlement and discharge of any third-party intellectual property
  infringement claim related to our iOS App or your possession and use of
  our iOS App.

  - You represent and warrant that (i) you are not located in a country
  that is subject to a U.S. Government embargo, or that has been designated
  by the U.S. Government as a “terrorist supporting” country; and (ii) You
  are not listed on any U.S. Government list of prohibited or restricted
  parties.

  - You agree to comply with all applicable third-party terms of agreement
  when using our iOS App (e.g., you must not be in violation of your
  wireless data service terms of agreement when using the iOS App).

  - The parties agree that Apple and Apple’s subsidiaries are third-party
  beneficiaries to these Terms as they relate to your license of the
  Company’s iOS App. Upon your acceptance of these Terms, Apple will have
  the right (and will be deemed to have accepted the right) to enforce
  these Terms against you as they relate to your license of the iOS App as
  a third-party beneficiary thereof.

  # USER DISPUTES

  You are solely responsible for your interaction with other users of the
  Service and other parties that you come in contact with through the
  Service. The Company hereby disclaims any and all liability to you or any
  third party relating to your use of the Service. The Company reserves the
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  right, but has no obligation, to manage disputes between you and other
  users of the Service.

  # COPYRIGHT

  Copyright Complaints: The Company respects the intellectual property of
  others, and we ask our users to do the same. If you believe that your
  work has been copied in a way that constitutes copyright infringement, or
  that your intellectual property rights have been otherwise violated, you
  should notify the Company of your infringement claim in accordance with
  the procedure set forth below.

  The Company will process and investigate notices of alleged infringement
  and will take appropriate actions under the Digital Millennium Copyright
  Act (“DMCA”) and other applicable intellectual property laws with respect
  to any alleged or actual infringement. A notification of claimed
  copyright infringement should be emailed to the Company’s Copyright Agent
  at abuse@discordapp.com (Subject line: “DMCA Takedown Request”). You may
  also contact us by mail at: Discord, Attention: DMCA Takedown Request,
  1901 S Bascom Ave. Suite 1180, Campbell, CA 95080.To be effective, the
  notification must be in writing and contain the following information:

  - an electronic or physical signature of the person authorized to act on
  behalf of the owner of the copyright or other intellectual property
  interest;

  - a description of the copyrighted work or other intellectual property
  that you claim has been infringed;

  - a description of where the material that you claim is infringing is
  located on the Service, with enough detail that we may find it on the
  Service;

  - your address, telephone number, and email address;

  - a statement by you that you have a good faith belief that the disputed
  use is not authorized by the copyright or intellectual property owner,
  its agent, or the law;

  - a statement by you, made under penalty of perjury, that the above
  information in your Notice is accurate and that you are the copyright or
  intellectual property owner or authorized to act on the copyright or
  intellectual property owner’s behalf.

  Counter-Notice: If you believe that Your Content that was removed (or to
  which access was disabled) is not infringing, or that you have the
  authorization from the copyright owner, the copyright owner’s agent, or
  pursuant to the law, to upload and use the content in Your Content, you
  may send a written counter-notice containing the following information to
  the Copyright Agent:

  - your physical or electronic signature;
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  - identification of the content that has been removed or to which access
  has been disabled and the location at which the content appeared before
  it was removed or disabled;

  - a statement that you have a good faith belief that the content was
  removed or disabled as a result of mistake or a misidentification of the
  content; and

  - your name, address, telephone number, and email address, a statement
  that you consent to the jurisdiction of the federal court located within
  the Northern District of California and a statement that you will accept
  service of process from the person who provided notification of the
  alleged infringement.

  If a counter-notice is received by the Copyright Agent, the Company will
  send a copy of the counter-notice to the original complaining party
  informing that person that it may replace the removed content or cease
  disabling it in 10 business days. Unless the copyright owner files an
  action seeking a court order against the content provider, member or
  user, the removed content may be replaced, or access to it restored, in
  10 to 14 business days or more after receipt of the counter-notice, at
  our sole discretion.

  Repeat Infringer Policy: In accordance with the DMCA and other applicable
  law, the Company has adopted a policy of terminating, in appropriate
  circumstances and at the Company's sole discretion, users who are deemed
  to be repeat infringers. The Company may also at its sole discretion
  limit access to the Service and/or terminate the memberships of any users
  who infringe any intellectual property rights of others, whether or not
  there is any repeat infringement


  # GENERAL
  By visiting or using the Service, you agree that the laws of the United
  States and the State of California, without regard to principles of
  conflict of laws and regardless of your location, will govern these Terms
  and any dispute of any sort that might arise between you and the Company.
  Any claim or dispute between you and the Company that arises in whole or
  in part from these Terms or your use of the Service shall be decided
  exclusively by a court of competent jurisdiction located in Santa Clara
  County, California, and you hereby consent to, and waive all defenses of
  lack of personal jurisdiction and forum non conveniens with respect to
  venue and jurisdiction in the state and federal courts of Santa Clara
  County, California.

  You acknowledge that the rights granted and obligations made to the
  Company under these Terms are of a unique and irreplaceable nature, the
  loss of which may result in immediate and irreparable harm to the Company
  for which remedies at law are inadequate. The Company shall therefore be
  entitled to seek injunctive or other equitable relief (without the
  obligation to post any bond or surety) in the event of any breach or
  anticipatory breach by you. You irrevocably waive all rights to seek
  injunctive or other equitable relief.
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  You agree to be responsible for obtaining and maintaining all telephone,
  computer hardware mobile devices and other equipment needed for access to
  and use of the Service, and all charges related thereto.

  These Terms constitute the entire agreement between you and the Company
  with respect to your use of the Service and any other subject matter
  hereof and cannot be changed or modified by you except as expressly
  posted on the Service by the Company. You also may be subject to
  additional terms and conditions that may apply when you use affiliate or
  third party services, third party content or third party software. The
  failure of the Company to exercise or enforce any right or provision of
  these Terms shall not constitute a waiver of such right or provision, and
  no waiver by either party of any breach or default hereunder shall be
  deemed to be a waiver of any preceding or subsequent breach or default.
  If any provision of these Terms is found by a court of competent
  jurisdiction to be invalid, the parties nevertheless agree that the court
  should endeavor to give effect to the parties' intentions as reflected in
  the provision, and the other provisions of these Terms shall remain in
  full force and effect. Neither the course of conduct between the parties
  nor trade practice will act to modify these Terms. These Terms may not be
  assigned by you without the Company's prior written consent, but are
  freely assignable by the Company. The section headings used herein are
  for convenience only and shall not be given any legal import. Upon the
  Company's request, you will furnish the Company with any documentation,
  substantiation or releases necessary to verify your compliance with these
  Terms. You agree that these Terms will not be construed against the
  Company by virtue of having drafted them. You hereby waive any and all
  defenses you may have based on the electronic form of these Terms and the
  lack of signing by the parties hereto to execute these Terms.

  You agree that the provisions of these Terms that by their nature should
  survive termination will survive any termination of these Terms.
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                              EXHIBIT F
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  # DISCORD TERMS OF SERVICE

  Last modified: May 9, 2017.

  # INTRODUCTION AND ACCEPTING THE TERMS

  Welcome to Discord!

  These Terms of Service (“Terms”), which include and hereby incorporate
  the Privacy Policy at discordapp.com/privacy (“Privacy Policy”), are a
  legal agreement between Discord Inc. and its related companies (the
  “Company” or "we") and you ("you"). By using or accessing the Discord
  application (the “App”) or the website located at https://discordapp.com
  (the "Site"), which are collectively referred to as the “Service,” you
  agree (i) that you are 13 years of age or older, (ii) if you are the age
  of majority in your jurisdiction or over, that you have read, understood,
  and accept to be bound by the Terms, and (iii) if you are between 13 and
  the age of majority in your jurisdiction, that your legal guardian has
  reviewed and agrees to these Terms.

  The Company reserves the right, in its sole discretion, to modify or
  revise these Terms at any time, and you agree to be bound by such
  modifications or revisions. Any such change or modification will be
  effective seven (7) days following posting on the Service, and your
  continued use of the Service after the effective date will constitute
  your acceptance of, and agreement to, such changes or modifications. If
  you object to any change or modification, your sole recourse shall be to
  cease using the Service.

  # RIGHTS TO USE THE SERVICE

  The Service provides a social online and mobile chat platform via the App
  and related Internet services. The Service may allow you to participate
  in public and private chat rooms and to utilize messaging features to
  communicate with other users of the Service. Subject to your compliance
  with these Terms, the Company grants you a limited, revocable, non-
  exclusive, non-transferable, non-sublicensable license to use and access
  the Service, solely for your personal, non-commercial use.

  You agree not to (and not to attempt to) (i) use the Service for any use
  or purpose other than as expressly permitted by these Terms or (ii) copy,
  adapt, modify, prepare derivative works based upon, distribute, license,
  sell, transfer, publicly display, publicly perform, transmit, stream,
  broadcast or otherwise exploit the Service or any portion of the Service,
  except as expressly permitted in these Terms. No licenses or rights are
  granted to you by implication or otherwise under any intellectual
  property rights owned or controlled by the Company or its licensors,
  except for the permissions and rights expressly granted in these Terms.

  Company reserves the right to modify or discontinue, temporarily or
  permanently, the Service (or any part thereof) with or without notice.
  The Company reserves the right to refuse any user access to the Services
  without notice for any reason, including but not limited to a violation
  of the Terms.
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  If you violate these Terms, the Company reserves the right to issue you a
  warning regarding the violation or immediately terminate or suspend any
  or all Accounts you have created using the Service. You agree that the
  Company need not provide you notice before terminating or suspending your
  Account(s), but it may do so.

  # FEES

  We will not charge you a fee to use the basic functionality of the
  Service. However, you may have to pay a fee to use certain features of
  the Service or to obtain Virtual Currency or Virtual Goods (as defined
  and discussed further below).

  The price for utilizing these features or obtaining such Virtual Currency
  or Virtual Goods will be displayed on the App. We may also require you to
  pay any amounts due via a third party payment service. Payments of such
  fees will be governed by your app store’s or such third party’s terms
  applicable to in-app purchases. You agree to comply with all such terms
  and other requirements of your app store or such third party.

  You are responsible for determining and paying the appropriate government
  taxes, fees, and service charges resulting from a transaction occurring
  through the Service. We are not responsible for collecting, reporting,
  paying, or remitting to you any such taxes, fees, or service charges,
  except as may otherwise be required by law.

  # YOUR ACCOUNT

  You are responsible for your log-in credentials and for any activity
  resulting from the use of your log-in credentials or other activity on
  your account (“Account”) on the Service.

  Upon launching the App or the Service, if you do not already have an
  Account, you will be prompted to create one by providing a username and
  in some cases a password. You may also be required to provide a valid
  email address or other information to access or utilize certain
  applications or features.

  You represent and warrant that the information you provide to us upon
  registration and at all other times will be true, accurate, current, and
  complete. We reserve the right to reject any username or to terminate
  your username or prevent use of a username in our sole discretion, and
  without any liability to you. You understand and agree that other users
  of the Service may have the same username as you, however, users will be
  differentiated by a number identifier that may or may not be visible to
  you or other users. You will ensure that your e-mail address is kept
  accurate and up-to-date at all times. If we allow you to use the App
  without creating an Account (e.g., if we make available a single-session
  use feature), any username you select for use in connection with the App
  will be available for other users after your session ends.

  You are responsible for maintaining the confidentiality of your log-in
  credentials and are fully responsible for all activities that occur
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  through the use of your credentials or otherwise on your Account. You
  agree to notify us immediately if you believe the confidentiality of your
  log-in credentials has been compromised or if you suspect unauthorized
  use of your Account. You agree that we will not be liable for any loss or
  damage arising from unauthorized use of your credentials.

  # COMMUNICATIONS

  We may communicate with you by email or posting notice via the Service.
  You agree to receive email from us at the email address you provided to
  us for customer service-related purposes. By using the Service or
  providing information to us, you agree that we may communicate with you
  electronically regarding security, privacy, and administrative issues
  relating to your use of the Service.

  You may use the Service to send messages to other users of the Service.
  You agree that your use of the Service will not include sending
  unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
  a variety of means to block spammers and abusers from using the Service.
  If you believe spam originated from the Service, please email us
  immediately at support@discordapp.com.

  # INTELLECTUAL PROPERTY RIGHTS

  All rights, title and interest in and to all materials that are part of
  the Service (including, but not limited to, designs, text, graphics,
  pictures, video, information, applications, software, music, sound and
  other files, and their selection and arrangement), except for Your
  Content, collectively referred to as the "Service Materials", are, as
  between the Company and you, owned by the Company and/or its third party
  licensors. You acknowledge and agree that you shall not acquire any
  ownership rights whatsoever by downloading Service Materials or by
  purchasing any Virtual Currency or Virtual Goods (each as defined below).

  You agree that you shall not modify, copy, distribute, frame, reproduce,
  republish, download, scrape, display, post, transmit, or sell in any form
  or by any means, in whole or in part, or otherwise exploit the Service
  Materials without our express prior written permission. You acknowledge
  that you do not acquire any ownership rights by using the Service or by
  accessing any Service Materials posted on the Service by the Company, or
  any derivative works thereof. All rights not expressly granted by these
  Terms are reserved by the Company and its licensors, and no license is
  granted hereunder by estoppel, implication or otherwise.

  # YOUR CONTENT

  Any data, text, graphics, photographs and their selection and
  arrangement, and any other materials uploaded to the Service by you is
  “Your Content.” You represent and warrant that Your Content is original
  to you and that you exclusively own the rights to such content, including
  the right to grant all of the rights and licenses in these Terms without
  the Company incurring any third party obligations or liability arising
  out of its exercise of such rights and licenses. All of Your Content is
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  your sole responsibility and the Company is not responsible for any
  material that you upload, post, or otherwise make available.

  By uploading, distributing, transmitting or otherwise using Your Content
  with the Service, you grant to us a perpetual, nonexclusive,
  transferable, royalty-free, sublicensable, and worldwide license to use,
  host, reproduce, modify, adapt, publish, translate, create derivative
  works from, distribute, perform, and display Your Content in connection
  with operating and providing the Service.

  The Company does not guarantee the accuracy, quality, or integrity of any
  user content posted. By using the Service you acknowledge and accept that
  you may be exposed to material you find offensive or objectionable. You
  agree that the Company will not under any circumstances be liable for any
  user content, including, but not limited to, errors in any user content,
  or any loss or damage incurred by use of user content.

  The Company reserves the right to remove and permanently delete Your
  Content from the Service with or without notice for any reason or no
  reason. You may notify the Company of any user content that you believe
  violates these Terms, or other inappropriate user behavior, by emailing
  abuse@discordapp.com.

  # VIRTUAL CURRENCIES AND VIRTUAL GOODS

  The Service may include an opportunity to obtain virtual currency
  ("Virtual Currency") or virtual goods ("Virtual Goods") that may require
  you to pay a fee using legal tender (that is, "real money") to obtain the
  Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
  final and is not refundable, exchangeable, transferable, except in the
  Company’s or the platform provider’s sole discretion. You may not
  purchase, sell, or exchange Virtual Currency outside the Service. Doing
  so is a violation of the Terms and may result in termination of your
  Account with the Service and/or legal action. The Company retains the
  right to modify, manage, control and/or eliminate Virtual Currency and/or
  Virtual Goods at its sole discretion. Prices and availability of Virtual
  Goods are subject to change without notice. We shall have no liability to
  you or any third party for the exercise of such rights. You shall have a
  limited, personal, non-transferable, non-sublicensable permission to use
  solely within the Service Virtual Goods and Virtual Currency that you
  have earned, purchased or otherwise obtained in a manner authorized by
  the Company. You have no other right, title or interest in or to any such
  Virtual Goods or Virtual Currency appearing or originating in the
  Service.

  # RULES OF CONDUCT AND USAGE

  The Service provides communication channels such as forums, communities,
  or chat areas ("Communication Channels") designed to enable you to
  communicate with other Service users. The Company has no obligation to
  monitor these communication channels but it may do so in connection with
  providing the Service.
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  The Company may also terminate or suspend your access to any
  Communication Channels at any time, without notice, for any reason. You
  acknowledge that any user content (including without limitation chats,
  postings, or materials posted by users) on the Communication Channels is
  neither endorsed nor controlled by us. The Company will not under any
  circumstances be liable for any activity within Communication Channels.
  The Company is not responsible for information that you choose to share
  on the Communication Channels, or for the actions of other users.

  As a condition of your use of the Service, and without limiting your
  other obligations under these Terms, you agree to comply with the
  restrictions and rules of use set forth in these Terms and our [Community
  Guidelines](http://www.discordapp.com/guidelines) as well as any
  additional restrictions or rules (such as application-specific rules) set
  forth in the Service.

  As an example, you agree not to use the Service in order to:

  - post, upload, transmit or otherwise disseminate information that is
  obscene, indecent, vulgar, pornographic, sexual or otherwise
  objectionable as outlined in our [Community
  Guidelines](http://www.discordapp.com/guidelines);
  - defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
  abuse anyone;
  - upload or transmit (or attempt to upload or transmit) files that
  contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
  files or data, or any other similar software or programs that may damage
  the operation of the Service or other users' computers;
  - violate the contractual, personal, intellectual property or other
  rights of any party including using, uploading, transmitting,
  distributing, or otherwise making available any information made
  available through the Service in any manner that infringes any copyright,
  trademark, patent, trade secret, or other right of any party (including
  rights of privacy or publicity);
  - attempt to obtain passwords or other private information from other
  members;
  - improperly use support channels or complaint buttons to make false
  reports to us;
  - develop, distribute, or publicly inform other members of "auto"
  software programs, "macro" software programs or other "cheat utility"
  software program or applications in violation of the applicable license
  agreements;
  - exploit, distribute or publicly inform other members of any game error,
  miscue or bug which gives an unintended advantage; or
  violate any applicable laws or regulations, or promote or encourage any
  illegal activity including, but not limited to, hacking, cracking or
  distribution of counterfeit software, or cheats or hacks for the Service.


  These rules of use are not meant to be exhaustive, and we reserve the
  right to determine what conduct we consider to be a violation of the
  Terms, Community Guidelines or improper use of the Service and to take
  action including termination of your Account and exclusion from further
  participation in the Service.
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  # FEEDBACK

  We appreciate hearing from our users and welcome your comments regarding
  the Service. Please be advised, however, that if you send to us any
  comments, suggestions or recommendations regarding the Service
  (“Feedback“ ) you hereby assign to us all rights, title and interest in
  and to the Feedback. Accordingly, your Feedback will not be subject to
  any obligation of confidentiality and we will not be liable to you for
  any use or disclosure of any Feedback. Also, we will be entitled to
  unrestricted use of the Feedback for any purpose whatsoever, commercial
  or otherwise, without compensation to you or any other person.

  # THIRD-PARTY SERVICES

  We use third-party services to help us provide the Service, but such use
  does not indicate that we endorse them or are responsible or liable for
  their actions. In addition, the Service may link to third-party websites
  to facilitate its provision of services to you. If you use these links,
  you will leave the Service. Some of these third-party websites may use
  Service Materials under license from us. We are not responsible for nor
  do we endorse these third-party websites or the organizations sponsoring
  such third-party websites or their products or services, whether or not
  we are affiliated with such third-party websites. You agree that we are
  not responsible or liable for any loss or damage of any sort incurred as
  a result of any such dealings you may have on or through a third-party
  website or as a result of the presence of any third-party advertising on
  the Service.

  # TERMINATION

  You may terminate your Account at any time and for any reason by sending
  an email to support@discordapp.com.

  The Company may terminate your Account and your access to the Service
  (or, at the Company's sole option, applicable portions of the Service) at
  any time and for any reason. The Company is not required to provide you
  with any notice or warning prior to any such termination. You may, as the
  result of termination, lose your Account and all information and data
  associated therewith, including without limitation your Virtual Currency
  and Virtual Goods, as applicable and the Company is under no obligation
  to compensate you for any such loss.

  # DISCLAIMER OF WARRANTY

  THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" WITHOUT
  WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED, INCLUDING, BUT NOT
  LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
  PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. IN ADDITION, WHILE THE
  COMPANY ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
  REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
  FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
  DISRUPTIONS, OR IMPERFECTIONS. THE FOREGOING DISCLAIMERS SHALL APPLY TO
  THE EXTENT PERMITTED BY APPLICABLE LAW.
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  # LIMITATION OF LIABILITY

  TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT WILL THE COMPANY, BE
  LIABLE TO YOU OR TO ANY THIRD PERSON FOR ANY CONSEQUENTIAL, INCIDENTAL,
  SPECIAL, PUNITIVE OR OTHER INDIRECT DAMAGES, INCLUDING ANY LOST PROFITS
  OR LOST DATA, ARISING FROM YOUR USE OF THE SERVICE OR OTHER MATERIALS ON,
  ACCESSED THROUGH OR DOWNLOADED FROM THE SERVICE, WHETHER BASED ON
  WARRANTY, CONTRACT, TORT, OR ANY OTHER LEGAL THEORY, AND WHETHER OR NOT
  THE COMPANY HAS BEEN ADVISED OF THE POSSIBILITY OF THESE DAMAGES.

  THE COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE GREATER OF (A)
  THE AMOUNT YOU HAVE PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE
  THREE (3) MONTHS IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT
  A CLAIM OR (B) $100.. THE LIMITATIONS AND DISCLAIMERS IN THESE TERMS DO
  NOT PURPORT TO LIMIT LIABILITY OR ALTER RIGHTS THAT CANNOT BE EXCLUDED
  UNDER APPLICABLE LAW. SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF
  IMPLIED WARRANTIES OR LIMITATION OF LIABILITY FOR INCIDENTAL OR
  CONSEQUENTIAL DAMAGES, WHICH MEANS THAT SOME OF THE ABOVE DISCLAIMERS AND
  LIMITATIONS MAY NOT APPLY TO YOU. IN THESE JURISDICTIONS, DISCORD’S
  LIABILITY WILL BE LIMITED TO THE GREATEST EXTENT PERMITTED BY LAW.

  You specifically acknowledge that the Company shall not be liable for
  user content, including without limitation Your Content, or the
  defamatory, offensive, or illegal conduct of any third party and that the
  risk of harm or damage from the foregoing rests entirely with you.

  # INDEMNIFICATION

  You agree to indemnify and hold the Company, harmless from and against
  any loss, liability, claim, demand, damages, costs and expenses,
  including reasonable attorney's fees, arising out of or in connection
  with (i) your use of and access to the Service; (ii) your violation of
  any term of these Terms; (iii) your violation of any third party right,
  including without limitation any copyright, property, or privacy right or
  any third party agreement; or (iv) any of Your Content or information in
  your Account or any other information you post or share on or through the
  Service. As used in this section, "you" shall include anyone accessing
  the Service using your password.

  # INTERNATIONAL USE; EXPORT CONTROLS

  Software available in connection with the Service and the transmission of
  applicable data, if any, is subject to United States export controls. No
  software may be downloaded from the Service or otherwise exported or re-
  exported in violation of U.S. export laws. Downloading or using the
  software is at your sole risk. Recognizing the global nature of the
  Internet, you agree to comply with all local rules and laws regarding
  your use of the Service, including as it concerns online conduct and
  acceptable content.

  # IOS APPLICATIONS
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  The following additional terms and conditions apply with respect to any
  App that the Company provides to you designed for use on an Apple iOS-
  powered mobile device (an “iOS App”):
  - You acknowledge that these Terms are between you and Discord only, and
  not with Apple, Inc. (“Apple”).
  - Your use of the Company’s iOS App must comply with Apple’s then-current
  App Store Terms of Service.
  - The Company, and not Apple, are solely responsible for our iOS App and
  the Services and Content available thereon. You acknowledge that Apple
  has no obligation to provide maintenance and support services with
  respect to our iOS App. To the maximum extent permitted by applicable
  law, Apple will have no warranty obligation whatsoever with respect to
  our iOS App.
  - You agree that the Company, and not Apple, are responsible for
  addressing any claims by you or any third-party relating to our iOS App
  or your possession and/or use of our iOS App.
  - You agree that the Company, and not Apple, shall be responsible, to the
  extent required by these Terms, for the investigation, defense,
  settlement and discharge of any third-party intellectual property
  infringement claim related to our iOS App or your possession and use of
  our iOS App.
  - You represent and warrant that (i) you are not located in a country
  that is subject to a U.S. Government embargo, or that has been designated
  by the U.S. Government as a “terrorist supporting” country; and (ii) You
  are not listed on any U.S. Government list of prohibited or restricted
  parties.
  - You agree to comply with all applicable third-party terms of agreement
  when using our iOS App (e.g., you must not be in violation of your
  wireless data service terms of agreement when using the iOS App).
  - The parties agree that Apple and Apple’s subsidiaries are third-party
  beneficiaries to these Terms as they relate to your license of the
  Company’s iOS App. Upon your acceptance of these Terms, Apple will have
  the right (and will be deemed to have accepted the right) to enforce
  these Terms against you as they relate to your license of the iOS App as
  a third-party beneficiary thereof.


  # USER DISPUTES

  You are solely responsible for your interaction with other users of the
  Service and other parties that you come in contact with through the
  Service. The Company hereby disclaims any and all liability to you or any
  third party relating to your use of the Service. The Company reserves the
  right, but has no obligation, to manage disputes between you and other
  users of the Service.

  # COPYRIGHT

  Copyright Complaints: The Company respects the intellectual property of
  others, and we ask our users to do the same. If you believe that your
  work has been copied in a way that constitutes copyright infringement, or
  that your intellectual property rights have been otherwise violated, you
  should notify the Company of your infringement claim in accordance with
  the procedure set forth below.
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  The Company will process and investigate notices of alleged infringement
  and will take appropriate actions under the Digital Millennium Copyright
  Act (“DMCA”) and other applicable intellectual property laws with respect
  to any alleged or actual infringement. A notification of claimed
  copyright infringement should be emailed to the Company’s Copyright Agent
  at copyright@discordapp.com. Alternately, you may contact us by mail at:
  Discord, Attention: DMCA Takedown Request, 444 De Haro St, Suite 200, San
  Francisco, CA 94107. To be effective, the notification must be in writing
  and contain the following information:

  - an electronic or physical signature of the person authorized to act on
  behalf of the owner of the copyright or other intellectual property
  interest;
  - a description of the copyrighted work or other intellectual property
  that you claim has been infringed;
  - a description of where the material that you claim is infringing is
  located on the Service, with enough detail that we may find it on the
  Service;
  - your address, telephone number, and email address;
  - a statement by you that you have a good faith belief that the disputed
  use is not authorized by the copyright or intellectual property owner,
  its agent, or the law;
  - a statement by you, made under penalty of perjury, that the above
  information in your Notice is accurate and that you are the copyright or
  intellectual property owner or authorized to act on the copyright or
  intellectual property owner’s behalf.


  Counter-Notice: If you believe that Your Content that was removed (or to
  which access was disabled) is not infringing, or that you have the
  authorization from the copyright owner, the copyright owner’s agent, or
  pursuant to the law, to upload and use the content in Your Content, you
  may send a written counter-notice containing the following information to
  the Copyright Agent:

  - your physical or electronic signature;
  - identification of the content that has been removed or to which access
  has been disabled and the location at which the content appeared before
  it was removed or disabled;
  - a statement that you have a good faith belief that the content was
  removed or disabled as a result of mistake or a misidentification of the
  content; and
  - your name, address, telephone number, and email address, a statement
  that you consent to the jurisdiction of the federal court located within
  the Northern District of California and a statement that you will accept
  service of process from the person who provided notification of the
  alleged infringement.


  If a counter-notice is received by the Copyright Agent, the Company will
  send a copy of the counter-notice to the original complaining party
  informing that person that it may replace the removed content or cease
  disabling it in 10 business days. Unless the copyright owner files an
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  action seeking a court order against the content provider, member or
  user, the removed content may be replaced, or access to it restored, in
  10 to 14 business days or more after receipt of the counter-notice, at
  our sole discretion.

  Repeat Infringer Policy: In accordance with the DMCA and other applicable
  law, the Company has adopted a policy of terminating, in appropriate
  circumstances and at the Company's sole discretion, users who are deemed
  to be repeat infringers. The Company may also at its sole discretion
  limit access to the Service and/or terminate the memberships of any users
  who infringe any intellectual property rights of others, whether or not
  there is any repeat infringement

  # GENERAL

  By visiting or using the Service, you agree that the laws of the United
  States and the State of California, without regard to principles of
  conflict of laws and regardless of your location, will govern these Terms
  and any dispute of any sort that might arise between you and the Company.
  Any claim or dispute between you and the Company that arises in whole or
  in part from these Terms or your use of the Service shall be decided
  exclusively by a court of competent jurisdiction located in Santa Clara
  County, California, and you hereby consent to, and waive all defenses of
  lack of personal jurisdiction and forum non conveniens with respect to
  venue and jurisdiction in the state and federal courts of Santa Clara
  County, California.

  You acknowledge that the rights granted and obligations made to the
  Company under these Terms are of a unique and irreplaceable nature, the
  loss of which may result in immediate and irreparable harm to the Company
  for which remedies at law are inadequate. The Company shall therefore be
  entitled to seek injunctive or other equitable relief (without the
  obligation to post any bond or surety) in the event of any breach or
  anticipatory breach by you. You irrevocably waive all rights to seek
  injunctive or other equitable relief.

  You agree to be responsible for obtaining and maintaining all telephone,
  computer hardware mobile devices and other equipment needed for access to
  and use of the Service, and all charges related thereto.

  These Terms constitute the entire agreement between you and the Company
  with respect to your use of the Service and any other subject matter
  hereof and cannot be changed or modified by you except as expressly
  posted on the Service by the Company. You also may be subject to
  additional terms and conditions that may apply when you use affiliate or
  third party services, third party content or third party software. The
  failure of the Company to exercise or enforce any right or provision of
  these Terms shall not constitute a waiver of such right or provision, and
  no waiver by either party of any breach or default hereunder shall be
  deemed to be a waiver of any preceding or subsequent breach or default.
  If any provision of these Terms is found by a court of competent
  jurisdiction to be invalid, the parties nevertheless agree that the court
  should endeavor to give effect to the parties' intentions as reflected in
  the provision, and the other provisions of these Terms shall remain in
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  full force and effect. Neither the course of conduct between the parties
  nor trade practice will act to modify these Terms. These Terms may not be
  assigned by you without the Company's prior written consent, but are
  freely assignable by the Company. The section headings used herein are
  for convenience only and shall not be given any legal import. Upon the
  Company's request, you will furnish the Company with any documentation,
  substantiation or releases necessary to verify your compliance with these
  Terms. You agree that these Terms will not be construed against the
  Company by virtue of having drafted them. You hereby waive any and all
  defenses you may have based on the electronic form of these Terms and the
  lack of signing by the parties hereto to execute these Terms.

  You agree that the provisions of these Terms that by their nature should
  survive termination will survive any termination of these Terms.`,
  STORE_TERMS: `Hello, friend! I see that you're part of a special group of
  people that have access to something that we're testing out. You almost
  certainly got to this page because you're trying out some of our new,
  exciting features. Just to make it clear, the Terms here only apply to
  you if you are in the beta test that we're running and you've accepted
  them. For everyone else, the standard Discord [Terms of
  Service](https://discordapp.com/terms) apply.

  # Discord Store Beta Terms of Service

  Last modified: August 9, 2018.

  IMPORTANT NOTICE: THESE TERMS OF SERVICE CONTAIN A BINDING ARBITRATION
  PROVISION AND CLASS ACTION WAIVER. IT AFFECTS YOUR LEGAL RIGHTS AS
  DETAILED IN THE DISPUTE RESOLUTION AND CLASS ACTION WAIVER SECTION BELOW.
  PLEASE READ CAREFULLY.

  # INTRODUCTION AND ACCEPTING THE TERMS

  Welcome to Discord! These Terms of Service (“Terms”), which include and
  hereby incorporate the Privacy Policy at https://discordapp.com/privacy
  (“Privacy Policy”), are a legal agreement between Discord Inc. and its
  related companies (the “Company,” “us,” “our,” or "we") and you ("you" or
  “your”). By using or accessing the Discord application (the “App”) or the
  website located at https://discordapp.com (the "Site"), which are
  collectively referred to as the “Service,” you agree (i) that you are 13
  years of age or older, (ii) if you are the age of majority in your
  jurisdiction or over, that you have read, understood, and accept to be
  bound by the Terms, and (iii) if you are between 13 and the age of
  majority in your jurisdiction, that your legal guardian has reviewed and
  agrees to these Terms.

  The Company reserves the right to update these Terms, which we may do for
  reasons that include, but are not limited to, complying with changes to
  the law or reflecting enhancements to Discord. If the changes affect your
  usage of Discord or your legal rights, we’ll notify you no less than
  seven days before the changes take effect. Unless we state otherwise,
  your continued use of the Service after we post modifications will
  constitute your acceptance of and agreement to those changes. If you
  object to the changes, your recourse shall be to cease using the Service.
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  # RIGHTS TO USE THE SERVICE

  The Service provides a chat and social platform. The Service may allow
  you to participate in public and private chat rooms and to utilize
  messaging features to communicate with other users of the Service. The
  Service may also allow you to access certain software and/or other
  content that is available to purchase from the Company. Subject to your
  compliance with these Terms, the Company grants you a limited, revocable,
  non-exclusive, non-transferable, non-sublicensable license to use and
  access the Service, solely for your personal, non-commercial use. You
  agree not to (and not to attempt to) (i) use the Service for any use or
  purpose other than as expressly permitted by these Terms;(ii) copy,
  adapt, modify, prepare derivative works based upon, distribute, license,
  sell, transfer, publicly display, publicly perform, transmit, stream,
  broadcast, attempt to discover any source code, reverse engineer,
  decompile, dissemble, or otherwise exploit the Service or any portion of
  the Service, except as expressly permitted in these Terms; or (iii) use
  data mining, robots, spiders, or similar data gathering and extraction
  tools on the Service. No licenses or rights are granted to you by
  implication or otherwise under any intellectual property rights owned or
  controlled by the Company or its licensors, except for the permissions
  and rights expressly granted in these Terms.

  The Company reserves the right to modify or discontinue, temporarily or
  permanently, the Service (or any part thereof) with or without notice.
  The Company reserves the right to refuse any user access to the Services
  without notice for any reason, including but not limited to a violation
  of the Terms. If you violate these Terms, the Company reserves the right
  to issue you a warning regarding the violation or immediately terminate
  or suspend any or all Accounts you have created using the Service. You
  agree that the Company need not provide you notice before terminating or
  suspending your Account(s), but it may do so.

  # YOUR ACCOUNT

  You are responsible for your log-in credentials and for any activity
  resulting from the use of your log-in credentials or other activity on
  your account (“Account”) on the Service. Upon launching the App or the
  Service, if you do not already have an Account, you will be prompted to
  create one by providing a username and in some cases a password. You may
  also be required to provide a valid email address or other information to
  access or utilize certain applications or features. You represent and
  warrant that the information you provide to us upon registration and at
  all other times will be true, accurate, current, and complete. We reserve
  the right to reject any username or to terminate your username or prevent
  use of a username in our sole discretion, and without any liability to
  you. You understand and agree that other users of the Service may have
  the same username as you, however, users will be differentiated by a
  number identifier that may or may not be visible to you or other users.
  You will ensure that your e-mail address is kept accurate and up-to-date
  at all times. If we allow you to use the App without creating an Account
  (e.g., if we make available a single-session use feature), any username
  you select for use in connection with the App will be available for other
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  users after your session ends. You are responsible for maintaining the
  confidentiality of your log-in credentials and are fully responsible for
  all activities that occur through the use of your credentials or
  otherwise on your Account. You agree to notify us immediately if you
  believe the confidentiality of your log-in credentials has been
  compromised or if you suspect unauthorized use of your Account. You agree
  that we will not be liable for any loss or damage arising from
  unauthorized use of your credentials.

  # COMMUNICATIONS

  You agree to receive communications from us electronically, such as
  email, text, or mobile push notices, or notices and messages on the
  Service. For any direct marketing messages, we will ensure that we obtain
  your consent first, and also make it easy for you to opt out — we don’t
  want to send you messages you don’t want.

  By using the Service or providing information to us, you agree that we
  may communicate with you electronically regarding security, privacy, and
  administrative issues relating to your use of the Service, and that all
  agreements, notices, disclosures, and other communications that Discord
  provides to you electronically satisfy any legal requirements that such
  communications be in writing.

  You may use the Service to send messages to other users of the Service.
  You agree that your use of the Service will not include sending
  unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
  a variety of means to block spammers and abusers from using the Service.
  If you believe spam originated from the Service, please email us
  immediately at support@discordapp.com.

  # INTELLECTUAL PROPERTY RIGHTS

  All rights, title and interest in and to all materials that are part of
  the Service (including, but not limited to, designs, text, graphics,
  pictures, video, information, applications, software, music, sound and
  other files, and their selection and arrangement), except for Your
  Content, collectively referred to as the "Service Materials,” are, as
  between the Company and you, owned by the Company and/or its third party
  licensors. You acknowledge and agree that you shall not acquire any
  ownership rights whatsoever by downloading Service Materials or by
  purchasing any Virtual Currency or Virtual Goods (each as defined below).
  You agree that you shall not modify, copy, distribute, frame, reproduce,
  republish, download, scrape, display, post, transmit, or sell in any form
  or by any means, in whole or in part, or otherwise exploit the Service
  Materials without our express prior written permission. You acknowledge
  that you do not acquire any ownership rights by using the Service or by
  accessing any Service Materials posted on the Service by the Company, or
  any derivative works thereof. All rights not expressly granted by these
  Terms are reserved by the Company and its licensors, and no license is
  granted hereunder by estoppel, implication or otherwise.

  # YOUR CONTENT
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  Any data, text, graphics, photographs and their selection and
  arrangement, and any other materials uploaded to the Service by you is
  “Your Content.” You represent and warrant that Your Content is original
  to you and that you exclusively own the rights to such content, including
  the right to grant all of the rights and licenses in these Terms without
  the Company incurring any third party obligations or liability arising
  out of its exercise of such rights and licenses. All of Your Content is
  your sole responsibility and the Company is not responsible for any
  material that you upload, post, or otherwise make available. By
  uploading, distributing, transmitting or otherwise using Your Content
  with the Service, you grant to us a perpetual, nonexclusive,
  transferable, royalty-free, sublicensable, and worldwide license to use,
  host, reproduce, modify, adapt, publish, translate, create derivative
  works from, distribute, perform, and display Your Content in connection
  with operating and providing the Service. The Company does not guarantee
  the accuracy, quality, or integrity of any user content posted. By using
  the Service, you acknowledge and accept that you may be exposed to
  material you find offensive or objectionable. You agree that the Company
  will not under any circumstances be liable for any user content,
  including, but not limited to, errors in any user content, or any loss or
  damage incurred by use of user content. The Company reserves the right to
  remove and permanently delete Your Content from the Service with or
  without notice for any reason or no reason. You may notify the Company of
  any user content that you believe violates these Terms, or other
  inappropriate user behavior, by emailing abuse@discordapp.com.

  # RULES OF CONDUCT AND USAGE

  The Service provides communication channels such as forums, communities,
  or chat areas ("Communication Channels") designed to enable you to
  communicate with other Service users. The Company has no obligation to
  monitor these communication channels but it may do so in connection with
  providing the Service. The Company may also terminate or suspend your
  access to any Communication Channels at any time, without notice, for any
  reason. You acknowledge that any user content (including without
  limitation chats, postings, or materials posted by users) on the
  Communication Channels is neither endorsed nor controlled by us. The
  Company will not under any circumstances be liable for any activity
  within Communication Channels. The Company is not responsible for
  information that you choose to share on the Communication Channels, or
  for the actions of other users. As a condition of your use of the
  Service, and without limiting your other obligations under these Terms,
  you agree to comply with the restrictions and rules of use set forth in
  these Terms and our Community Guidelines as well as any additional
  restrictions or rules (such as application-specific rules) set forth in
  the Service. As an example, you agree not to use the Service in order to:

  - post, upload, transmit or otherwise disseminate information that is
  objectionable as outlined in our Community Guidelines;
  - defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
  abuse anyone;
  - engage in conduct that is fraudulent or illegal or otherwise harmful to
  Discord or any other user;
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  - upload or transmit (or attempt to upload or transmit) files that
  contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
  files or data, or any other similar software or programs or engage in any
  other activity that may damage the operation of the Service or other
  users' computers;
  - violate the contractual, personal, intellectual property or other
  rights of any party including using, uploading, transmitting,
  distributing, or otherwise making available any information made
  available through the Service in any manner that infringes any copyright,
  trademark, patent, trade secret, or other right of any party (including
  rights of privacy or publicity);
  - attempt to obtain passwords or other private information from other
  members;
  - improperly use support channels or complaint buttons to make false
  reports to us;
  - develop, distribute, or publicly inform other members of "auto"
  software programs, "macro" software programs or other "cheat utility"
  software program or applications in violation of the applicable license
  agreements; or
  - exploit, distribute or publicly inform other members of any game error,
  miscue or bug which gives an unintended advantage; violate any applicable
  laws or regulations; or promote or encourage illegal activity including,
  but not limited to, hacking, cracking or distribution of counterfeit
  software, compromised accounts, or cheats or hacks for the Service.


  These rules of use are not meant to be exhaustive, and we reserve the
  right to determine what conduct we consider to be a violation of the
  Terms, Community Guidelines or improper use of the Service and to take
  action including termination of your Account and exclusion from further
  participation in the Service.

  # FEEDBACK

  We appreciate hearing from our users and welcome your comments regarding
  the Service. If you choose to provide feedback, comments or suggestions
  for improvements to the Service or otherwise (in written or oral form)
  (“Feedback”), you represent and warrant that (a) you have the right to
  disclose the Feedback, (b) the Feedback does not violate the rights of
  any other person or entity, and (c) your Feedback does not contain the
  confidential or proprietary information of any third party or parties.

  By sending us any Feedback, you further (i) agree that we are under no
  obligation of confidentiality, express or implied, with respect to the
  Feedback, (ii) acknowledge that we may have something similar to the
  Feedback already under consideration or in development, (iii) grant us an
  irrevocable, non-exclusive, royalty-free, perpetual, worldwide license to
  use, modify, prepare derivative works from, publish, distribute and
  sublicense the Feedback, and (iv) irrevocably waive, and cause to be
  waived, against Discord and its users any claims and assertions of any
  moral rights contained in such Feedback. This Feedback section shall
  survive any termination of your account or the Services.
  All rights in this section are granted without the need for additional
  compensation of any sort to you.
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  # THIRD-PARTY CONTENT

  We use third-party services to help us provide the Service, but such use
  does not indicate that we endorse them or are responsible or liable for
  their actions. In addition, the Service may link to third-party websites
  to facilitate its provision of services to you. If you use these links,
  you will leave the Service. Please note that your use of such third-party
  services will be governed by the terms and privacy policy applicable to
  the corresponding third party. Some of these third-party websites may use
  Service Materials under license from us. We are not responsible for nor
  do we endorse these third-party websites or the organizations sponsoring
  such third-party websites or their products or services, whether or not
  we are affiliated with such third-party websites. You agree that we are
  not responsible or liable for any loss or damage of any sort incurred as
  a result of any such dealings you may have on or through a third-party
  website or as a result of the presence of any third-party advertising on
  the Service.

  # USER DISPUTES

  You are solely responsible for your interaction with other users of the
  Service and other parties that you come in contact with through the
  Service. The Company hereby disclaims any and all liability to you or any
  third party relating to your use of the Service. The Company reserves the
  right, but has no obligation, to manage disputes between you and other
  users of the Service.

  # COPYRIGHT

  **Copyright Complaints**. The Company respects the intellectual property
  of others, and we ask our users to do the same. If you believe that your
  work has been copied in a way that constitutes copyright infringement, or
  that your intellectual property rights have been otherwise violated, you
  should notify the Company of your infringement claim in accordance with
  the procedure set forth below. The Company will process and investigate
  notices of alleged infringement and will take appropriate actions under
  the Digital Millennium Copyright Act (“DMCA”) and other applicable
  intellectual property laws with respect to any alleged or actual
  infringement. A notification of claimed copyright infringement should be
  emailed to the Company’s Copyright Agent at copyright@discordapp.com
  (Subject line: “DMCA Takedown Request”). You may also contact us by mail
  at: Discord, Attention: DMCA Takedown Request, 444 De Haro Street #200,
  San Francisco, CA 94107.To be effective, the notification must be in
  writing and contain the following information:

  - an electronic or physical signature of the person authorized to act on
  behalf of the owner of the copyright or other intellectual property
  interest;
  - a description of the copyrighted work or other intellectual property
  that you claim has been infringed;
  - a description of where the material that you claim is infringing is
  located on the Service, with enough detail that we may find it on the
  Service;
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  - your address, telephone number, and email address;
  - a statement by you that you have a good faith belief that the disputed
  use is not authorized by the copyright or intellectual property owner,
  its agent, or the law;
  - a statement by you, made under penalty of perjury, that the above
  information in your Notice is accurate and that you are the copyright or
  intellectual property owner or authorized to act on the copyright or
  intellectual property owner’s behalf.


  If you submit a notice of infringement that knowingly materially
  misrepresents that any Content, information, or communication on the
  Services is infringing upon a copyright, you may be held liable for
  damages and attorneys’ fees.

  **Counter-Notice**. If you believe that Your Content that was removed (or
  to which access was disabled) is not infringing, or that you have the
  authorization from the copyright owner, the copyright owner’s agent, or
  pursuant to the law, to upload and use the content in Your Content, you
  may send a written counter-notice containing the following information to
  the Copyright Agent:

  - your physical or electronic signature;
  - identification of the content that has been removed or to which access
  has been disabled and the location at which the content appeared before
  it was removed or disabled;
  - a statement that you have a good faith belief that the content was
  removed or disabled as a result of mistake or a misidentification of the
  content; and
  - your name, address, telephone number, and email address, a statement
  that you consent to the jurisdiction of the federal court located within
  the Northern District of California and a statement that you will accept
  service of process from the person who provided notification of the
  alleged infringement.


  If a counter-notice is received by the Copyright Agent, the Company will
  send a copy of the counter-notice to the original complaining party
  informing that person that it may replace the removed content or cease
  disabling it in 10 business days. Unless the copyright owner files an
  action seeking a court order against the content provider, member or
  user, the removed content may be replaced, or access to it restored, in
  10 to 14 business days or more after receipt of the counter-notice, at
  our sole discretion.

  **Repeat Infringer Policy**. In accordance with the DMCA and other
  applicable law, the Company has adopted a policy of terminating, in
  appropriate circumstances and at the Company's sole discretion, users who
  are deemed to be repeat infringers. The Company may also at its sole
  discretion limit access to the Service and/or terminate the memberships
  of any users who infringe any intellectual property rights of others,
  whether or not there is any repeat infringement.

  # TERMINATION
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  You may terminate your Account at any time and for any reason by deleting
  your account through the User Settings page in the application . The
  Company may terminate your Account and your access to the Service (or, at
  the Company's sole option, applicable portions of the Service) at any
  time and for any reason. The Company is not required to provide you with
  any notice or warning prior to any such termination. You may, as the
  result of termination, lose your Account and all information and data
  associated therewith, including without limitation your Virtual Currency
  and Virtual Goods, as applicable, and the Company is under no obligation
  to compensate you for any such loss.

  # DISCLAIMER OF WARRANTY

  THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" AND “AS
  AVAILABLE” WITHOUT WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED,
  INCLUDING, BUT NOT LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY,
  FITNESS FOR A PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. YOUR USE
  OF THE SERVICES IS AT YOUR SOLE RISK. IN ADDITION, WHILE THE COMPANY
  ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
  REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
  FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
  DISRUPTIONS, OR IMPERFECTIONS. THE FOREGOING DISCLAIMERS SHALL APPLY TO
  THE EXTENT PERMITTED BY APPLICABLE LAW.

  # LIMITATION OF LIABILITY

  TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT WILL THE COMPANY, BE
  LIABLE TO YOU OR TO ANY THIRD PERSON FOR ANY CONSEQUENTIAL, INCIDENTAL,
  SPECIAL, PUNITIVE OR OTHER INDIRECT DAMAGES, INCLUDING ANY LOST PROFITS
  OR LOST DATA, ARISING FROM YOUR USE OF THE SERVICE OR OTHER MATERIALS ON,
  ACCESSED THROUGH OR DOWNLOADED FROM THE SERVICE, WHETHER BASED ON
  WARRANTY, CONTRACT, TORT, OR ANY OTHER LEGAL THEORY, AND WHETHER OR NOT
  THE COMPANY HAS BEEN ADVISED OF THE POSSIBILITY OF THESE DAMAGES.THE
  COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE GREATER OF (A) THE
  AMOUNT YOU HAVE PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE THREE
  (3) MONTHS IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT A
  CLAIM OR (B) $100. THE LIMITATIONS AND DISCLAIMERS IN THESE TERMS DO NOT
  PURPORT TO LIMIT LIABILITY OR ALTER RIGHTS THAT CANNOT BE EXCLUDED UNDER
  APPLICABLE LAW. SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF IMPLIED
  WARRANTIES OR LIMITATION OF LIABILITY FOR INCIDENTAL OR CONSEQUENTIAL
  DAMAGES, WHICH MEANS THAT SOME OF THE ABOVE DISCLAIMERS AND LIMITATIONS
  MAY NOT APPLY TO YOU. IN THESE JURISDICTIONS, DISCORD’S LIABILITY WILL BE
  LIMITED TO THE GREATEST EXTENT PERMITTED BY LAW.

  You specifically acknowledge that the Company shall not be liable for
  user content, including without limitation Your Content, or the
  defamatory, offensive, or illegal conduct of any third party and that the
  risk of harm or damage from the foregoing rests entirely with you.

  # INDEMNIFICATION

  You agree to indemnify and hold the Company, harmless from and against
  any loss, liability, claim, demand, damages, costs and expenses,
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  including reasonable attorney's fees, arising out of or in connection
  with (i) your use of and access to the Service; (ii) your violation of
  any term of these Terms; (iii) your violation of any third party right,
  including without limitation any copyright, property, or privacy right or
  any third party agreement; or (iv) any of Your Content or information in
  your Account or any other information you post or share on or through the
  Service. As used in this section, "you" shall include anyone accessing
  the Service using your password

  # VIRTUAL CURRENCIES, VIRTUAL GOODS, AND TERMS OF SALE

  We will not charge you a fee to use the basic functionality of the
  Service, but fees may be charged for certain products and services. For
  additional terms regarding our Nitro subscription service, please see the
  “Nitro Subscriptions” section below.

  The Service may include an opportunity to obtain virtual currency
  ("Virtual Currency") or virtual goods ("Virtual Goods") that may require
  you to pay a fee using legal tender (that is, "real money") to obtain the
  Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
  final and is not refundable, exchangeable, transferable, except in the
  Company’s or the platform provider’s sole discretion. You may not
  purchase, sell, or exchange Virtual Currency outside the Service. Doing
  so is a violation of the Terms and may result in termination of your
  Account with the Service and/or legal action. The Company retains the
  right to modify, manage, control and/or eliminate Virtual Currency and/or
  Virtual Goods at its sole discretion. Prices and availability of Virtual
  Goods are subject to change without notice. We shall have no liability to
  you or any third party for the exercise of such rights. You shall have a
  limited, personal, non-transferable, non-sublicensable permission to use
  solely within the Service Virtual Goods and Virtual Currency that you
  have earned, purchased or otherwise obtained in a manner authorized by
  the Company. You have no other right, title or interest in or to any such
  Virtual Goods or Virtual Currency appearing or originating in the
  Service.

  **Product Descriptions**. We try to make the Service thorough, accurate,
  and helpful to our customers. Nonetheless, there may be times when
  certain information contained on the Service may be incorrect,
  incomplete, or inaccurate, or appear inaccurate because of the browser,
  hardware, software, or other technology that you use. Discord reserves
  the right, with or without prior notice, to: change descriptions or
  references to products and/or services; limit the available quantity of
  any product or service; honor, or refuse to honor, any coupon, coupon
  code, promotional code or other similar promotions; and/or refuse to
  provide any visitor to, or use of the Service with any product or
  service.

  **Availability and Pricing**. Though we try to honor all purchase
  requests, availability cannot always be guaranteed. When an item is not
  available and cannot be replenished — for example, if we offer a limited
  promotion — we will attempt to remove the item from the Service in a
  timely manner but make no guarantees in this regard. We may occasionally
  make errors in the stated prices on the Service. If a product’s correct
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  price is higher than the listed price, we will either confirm that we’ll
  provide the item at the price listed or cancel your order and notify you
  of such cancellation.

  **Payments**. We accept major credit cards, certain debit cards, PayPal,
  and/or such other payment methods we may make available to you from time-
  to-time through our Service, as forms of payment (“Payment Method”). We
  may also offer you the ability to make orders through a third party app
  store or other payment service. You agree to comply with their terms and
  any other requirements they may have. By submitting an order, you
  authorize Discord, or its designated payment processor, to charge the
  account you specify for the purchase amount.

  We may, in our sole discretion, cancel your payment at any time by
  providing notice to you through your contact information or by a notice
  when you attempt to make a payment. We may cancel a payment or prevent
  you from initiating future payments for any reason, including, without
  limitation, the following: (i) if you attempt to use the Service in
  breach of any applicable law or regulation, including the card network
  rules or regulations; (ii) if you use the Service in breach of these
  Terms; (iii) if we suspect fraudulent, unlawful or improper activity
  regarding a payment; (iv) if we detect, in our sole discretion, that your
  payments have excessive disputes, high reversal rates or present a
  relatively high risk of losses; or (v) failure to cooperate in an
  investigation or provide additional information when requested.

  **Refunds**. You can find our refund policy here:
  https://support.discordapp.com/hc/en-us/articles/360012668071

  **Taxes**. Stated prices may not include sales and use taxes. If they do
  not, you are responsible for the payment of such taxes related to your
  purchase. We have the right to charge you for any taxes that we are
  required to pay or in fact collect related to your purchase.

  **International Orders**. You will be solely responsible for any license
  fees, customs duties, and other taxes and fees related to the export of
  the products from the United States.

  **Manufacturer EULAs and Other Terms**. You may be required to accept an
  end user license agreement (EULA) or other terms provided by the
  manufacturer prior to use of the product you ordered. A EULA or other
  terms may accompany the product you ordered.

  # NITRO SUBSCRIPTIONS

  **Recurring Billing**. By purchasing a Nitro subscription, you authorize
  us to charge your Payment Method on a recurring (e.g., monthly or yearly)
  basis for the applicable Nitro subscription charge, any and all taxes or
  possible transaction fees, and any other charges incurred in connection
  with your use of the Nitro subscription service. Your payment to Discord
  will automatically renew at the end of your applicable subscription
  period, unless you cancel your subscription before the end of the current
  subscription period.
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  **Price Changes**. Discord may change the price for Nitro subscriptions
  from time to time, and will communicate any price changes to you in
  advance and, if applicable, how to accept those changes. Price changes
  for Nitro subscriptions will take effect at the start of the next
  subscription period following the date of the price change. As permitted
  by local law, you accept the new price by continuing to use Nitro after
  the price change takes effect. If you do not agree with the price
  changes, you have the right to reject the change by unsubscribing from
  Nitro prior to the price change going into effect. We don’t want to
  charge you for something you don’t want, though, so if you cancel within
  14 days of any price increases, we’ll provide you a refund.

  **Cancellation**. You may cancel your Nitro subscription at any time, and
  you will continue to have access to Nitro through the end of the current
  subscription period. If you cancel your subscription before the end of
  the current subscription period, we will not refund any subscription fees
  already paid to us. At our sole discretion, however, we may provide a
  refund, discount, or other consideration to some or all of our members
  ("credits"). The provision of credits in one instance does not entitle
  you to credits in the future for similar instances, nor does it obligate
  us to provide credits in the future, under any circumstance. To cancel,
  go to the "User Settings" screen in the Discord desktop or mobile app and
  follow the instructions for cancellation.

  # DISPUTE RESOLUTION

  PLEASE READ THIS SECTION CAREFULLY - IT MAY SIGNIFICANTLY AFFECT YOUR
  LEGAL RIGHTS, INCLUDING YOUR RIGHT TO FILE A LAWSUIT IN COURT.

  You and Discord agree that these Terms affect interstate commerce and
  that the Federal Arbitration Act governs the interpretation and
  enforcement of these arbitration provisions.

  Most disputes can be resolved without resorting to arbitration. In the
  event of a dispute, you agree to provide us notice of the dispute. This
  notice must provide a brief, written description of the dispute, the
  relief requested and the contact information of the party giving it. You
  must send any such notice to Discord by email to disputes@discord.com and
  by U.S. Mail to Discord Inc., 444 De Haro Street #200, San Francisco, CA
  94107.

  The parties agree to use their best efforts to settle any dispute, claim,
  question, or disagreement directly through consultation with one another,
  and good faith negotiations shall be a condition to either party
  initiating a lawsuit or arbitration.

  Notwithstanding the foregoing, disputes concerning patents, copyrights,
  moral rights, trademarks, and trade secrets and claims of piracy or
  unauthorized use of the Site shall not be subject to arbitration, and the
  notice and good faith negotiation required by this paragraph shall not
  apply to these types of disputes.

  Binding Arbitration. Except as provided herein, if we cannot resolve a
  dispute informally, any dispute will be resolved only by binding
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  arbitration to be held in the U.S. state in which you reside. For
  residents outside the United States, arbitration shall be initiated in
  San Francisco, California. Discord and you further agree to submit to the
  personal jurisdiction of any state or federal court in San Francisco,
  California to compel arbitration, stay proceedings pending arbitration,
  or to confirm, modify, vacate, or enter judgment on the award entered by
  the arbitrator.

  The arbitration shall be conducted by a single arbitrator, governed by
  the rules of JAMS that are in effect at the time the arbitration is
  initiated (referred to as the “JAMS Rules”) and under the rules set forth
  in these Terms. If there is a conflict between the JAMS Rules and the
  rules set forth in these Terms, the rules set forth in these Terms will
  govern. ARBITRATION MEANS THAT YOU WAIVE YOUR RIGHT TO A JURY TRIAL. You
  may, in arbitration, seek any and all remedies otherwise available to you
  pursuant to your state’s law.

  To the extent the filing fee for the arbitration exceeds the cost of
  filing a lawsuit, Discord will pay the additional cost. Discord shall
  also bear the cost of any arbitration fees, unless the arbitrator finds
  your claims, defenses, or other fee-generating activity to be asserted or
  conducted for an improper purpose or frivolous. You are responsible for
  all other additional costs that you may incur in the arbitration
  including, without limitation, attorney’s fees and expert witness costs
  unless Discord is specifically required to pay such fees under applicable
  law. The decision of the arbitrator will be in writing and binding and
  conclusive on Discord and you, and judgment to enforce the decision may
  be entered by any court of competent jurisdiction. Discord and you agree
  that dispositive motions, including without limitation motions to dismiss
  and motions for summary judgment, will be allowed in the arbitration. The
  arbitrator must follow these Terms of Service and can award the same
  damages and relief as a court, including injunctive or other equitable
  relief and attorney’s fees. Discord and you understand that, absent this
  mandatory arbitration provision, Discord and you would have the right to
  sue in court and have a jury trial. Discord and you further understand
  that, in some instances, the costs of arbitration could exceed the costs
  of litigation and that the right to discovery may be more limited in
  arbitration than in court.

  If Discord’s or your claim is solely for monetary relief of $10,000 or
  less and does not include a request for any type of equitable remedy, the
  party bringing the claim may choose whether the arbitration of the claim
  will be conducted, through a telephonic hearing, or by an in-person
  hearing under the JAMS Rules, solely based on documents submitted to the
  arbitrator.
  You or Discord may choose to pursue a claim in small claims court where
  jurisdiction and venue over you and Discord otherwise qualifies for such
  small claims court and where the claim does not include a request for any
  type of equitable relief. However, if you decide to pursue a claim in
  small claims court, you agree to still provide Discord with advance
  notice by email to disputes@discord.com and by U.S. Mail to Discord Inc.,
  444 De Haro Street #200, San Francisco, CA 94107.
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  **Opt-Out Right**. You have the right to opt out and not be bound by the
  provisions requiring arbitration by sending written notice of your
  decision to opt out to Discord by email to arbitration-opt-
  out@discord.com. The notice must be sent within 30 days of this Terms of
  Service taking effect, or your account creation on the Service. If you do
  not opt out via this method, you will be bound to arbitrate disputes in
  accordance with the terms of these paragraphs. If you opt out of the
  provisions requiring arbitration, Discord will not be bound by them
  either. If any clause within this Arbitration Section is found to be
  illegal or unenforceable, that specific clause will be severed from this
  section, and the remainder of its provisions will be given full force and
  effect.

  **Survival**. This Arbitration section shall survive any termination of
  your account or the Service.

  # CLASS WAIVER

  PLEASE READ THIS SECTION CAREFULLY. IT MAY SIGNIFICANTLY AFFECT YOUR
  LEGAL RIGHTS.

  Discord and you agree to resolve any dispute will be brought in an
  individual capacity, and not on behalf of, or as part of, any purported
  class, consolidated, or representative proceeding.
  The arbitrator cannot combine more than one person’s or entity’s claims
  into a single case, and cannot preside over any consolidated, class or
  representative proceeding (unless we agree otherwise). And, the
  arbitrator’s decision or award in one person’s or entity’s case can only
  impact the person or entity that brought the claim, not other Discord
  customers, and cannot be used to decide other disputes with other
  customers.

  If any court or arbitrator determines that the
  class/consolidated/representative action waiver set forth in this section
  is void or unenforceable for any reason or that arbitration can proceed
  on a class, consolidated, or representative basis, then the disputes,
  claims, or controversies will not be subject to arbitration and must be
  litigated in federal court located in San Francisco, California.
  This Class Action Waiver section shall survive any termination of your
  account or the Services.

  # INTERNATIONAL USE; EXPORT CONTROLS

  Software available in connection with the Service and the transmission of
  applicable data, if any, is subject to United States export controls. No
  software may be downloaded from the Service or otherwise exported or re-
  exported in violation of U.S. export laws. Downloading or using the
  software is at your sole risk. Recognizing the global nature of the
  Internet, you agree to comply with all local rules and laws regarding
  your use of the Service, including as it concerns online conduct and
  acceptable content.

  # IOS APPLICATIONS
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  The following additional terms and conditions apply with respect to any
  App that the Company provides to you designed for use on an Apple iOS-
  powered mobile device (an “iOS App”): - You acknowledge that these Terms
  are between you and Discord only, and not with Apple, Inc. (“Apple”).

  - Your use of the Company’s iOS App must comply with Apple’s then-current
  App Store Terms of Service.
  - The Company, and not Apple, are solely responsible for our iOS App and
  the Services and Content available thereon. You acknowledge that Apple
  has no obligation to provide maintenance and support services with
  respect to our iOS App. To the maximum extent permitted by applicable
  law, Apple will have no warranty obligation whatsoever with respect to
  our iOS App.
  - You agree that the Company, and not Apple, are responsible for
  addressing any claims by you or any third-party relating to our iOS App
  or your possession and/or use of our iOS App.
  - You agree that the Company, and not Apple, shall be responsible, to the
  extent required by these Terms, for the investigation, defense,
  settlement and discharge of any third-party intellectual property
  infringement claim related to our iOS App or your possession and use of
  our iOS App.
  - You represent and warrant that (i) you are not located in a country
  that is subject to a U.S. Government embargo, or that has been designated
  by the U.S. Government as a “terrorist supporting” country; and (ii) You
  are not listed on any U.S. Government list of prohibited or restricted
  parties.
  - You agree to comply with all applicable third-party terms of agreement
  when using our iOS App (e.g., you must not be in violation of your
  wireless data service terms of agreement when using the iOS App).
  - The parties agree that Apple and Apple’s subsidiaries are third-party
  beneficiaries to these Terms as they relate to your license of the
  Company’s iOS App. Upon your acceptance of these Terms, Apple will have
  the right (and will be deemed to have accepted the right) to enforce
  these Terms against you as they relate to your license of the iOS App as
  a third-party beneficiary thereof.


  # GENERAL

  **Governing Law**. By visiting or using the Service, you agree that the
  laws of the United States and the State of California, without regard to
  principles of conflict of laws and regardless of your location, will
  govern these Terms and any dispute of any sort that might arise between
  you and the Company.

  Any claim or dispute between you and the Company that arises out of or is
  related to the Service and is not subject to arbitration shall be decided
  exclusively by a court of competent jurisdiction located in San Francisco
  County, California, and you hereby consent to, and waive all defenses of
  lack of personal jurisdiction and forum non conveniens with respect to
  venue and jurisdiction in the state and federal courts of Santa Clara
  County, California.
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  **Injunctive and Other Equitable Relief**. You acknowledge that the
  rights granted and obligations made to the Company under these Terms are
  of a unique and irreplaceable nature, the loss of which may result in
  immediate and irreparable harm to the Company for which remedies at law
  are inadequate. The Company shall therefore be entitled to seek
  injunctive or other equitable relief (without the obligation to post any
  bond or surety) in the event of any breach or anticipatory breach by you.
  You irrevocably waive all rights to seek injunctive or other equitable
  relief.

  **Entire Agreement**. These Terms constitute the entire agreement between
  you and the Company with respect to your use of the Service and any other
  subject matter hereof and cannot be changed or modified by you except as
  expressly posted on the Service by the Company. You also may be subject
  to additional terms and conditions that may apply when you use affiliate
  or third party services, third party content or third party software.

  **Waiver**. The failure of the Company to exercise or enforce any right
  or provision of these Terms shall not constitute a waiver of such right
  or provision, and no waiver by either party of any breach or default
  hereunder shall be deemed to be a waiver of any preceding or subsequent
  breach or default.

  **Severability**. If any provision of these Terms is found by a court of
  competent jurisdiction to be invalid, the parties nevertheless agree that
  the court should endeavor to give effect to the parties' intentions as
  reflected in the provision, and the other provisions of these Terms shall
  remain in full force and effect.

  **Course of Conduct/Trade Practice**. Neither the course of conduct
  between the parties nor trade practice will act to modify these Terms.

  **Assignment**. These Terms may not be assigned by you without the
  Company's prior written consent, but are freely assignable by the
  Company. Subject to the foregoing restriction, these Terms will be
  binding on, inure to, and enforceable against the parties and their
  respective successors and assigns.

  **Documentation of Compliance**. Upon the Company's request, you will
  furnish the Company with any documentation, substantiation or releases
  necessary to verify your compliance with these Terms.

  **Interpretation**. You agree that these Terms will not be construed
  against the Company by virtue of having drafted them.

  **Defenses Based on Electronic Form of These Terms**. You hereby waive
  any and all defenses you may have based on the electronic form of these
  Terms and the lack of signing by the parties hereto to execute these
  Terms.

  **Survival**. You agree that the provisions of these Terms that by their
  nature should survive termination will survive any termination of these
  Terms.
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  **Contact**. If you have any questions about these Terms, please contact
  privacy@discord.com.

  Discord is made possible through the work of other [open source
  software](https://discordapp.com/acknowledgements).
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                             EXHIBIT G
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  # Discord Terms of Service

  Last modified: October 19, 2018.

  IMPORTANT NOTICE: THESE TERMS OF SERVICE CONTAIN A BINDING ARBITRATION
  PROVISION AND CLASS ACTION WAIVER. IT AFFECTS YOUR LEGAL RIGHTS AS
  DETAILED IN THE DISPUTE RESOLUTION AND CLASS ACTION WAIVER SECTION BELOW.
  PLEASE READ CAREFULLY.


  # INTRODUCTION AND ACCEPTING THE TERMS

  Welcome to Discord! These Terms of Service (“Terms”), which include and
  hereby incorporate the Privacy Policy at https://discordapp.com/privacy
  (“Privacy Policy”), are a legal agreement between Discord Inc. and its
  related companies (the “Company,” “us,” “our,” or "we") and you ("you" or
  “your”). By using or accessing the Discord application (the “App”) or the
  website located at https://discordapp.com (the "Site"), which are
  collectively referred to as the “Service,” you agree (i) that you are 13
  years of age or older, (ii) if you are the age of majority in your
  jurisdiction or over, that you have read, understood, and accept to be
  bound by the Terms, and (iii) if you are between 13 and the age of
  majority in your jurisdiction, that your legal guardian has reviewed and
  agrees to these Terms.

  The Company reserves the right to update these Terms, which we may do for
  reasons that include, but are not limited to, complying with changes to
  the law or reflecting enhancements to Discord. If the changes affect your
  usage of Discord or your legal rights, we’ll notify you no less than
  seven days before the changes take effect. Unless we state otherwise,
  your continued use of the Service after we post modifications will
  constitute your acceptance of and agreement to those changes. If you
  object to the changes, your recourse shall be to cease using the Service.

  # RIGHTS TO USE THE SERVICE

  The Service provides a chat and social platform. The Service may allow
  you to participate in public and private chat rooms and to utilize
  messaging features to communicate with other users of the Service. The
  Service may also allow you to access certain software and/or other
  content that is available to purchase from the Company. Subject to your
  compliance with these Terms, the Company grants you a limited, revocable,
  non-exclusive, non-transferable, non-sublicensable license to use and
  access the Service solely for your personal, non-commercial use, unless
  we agree to your commercial use in writing. You agree not to (and not to
  attempt to) (i) use the Service for any use or purpose other than as
  expressly permitted by these Terms;(ii) copy, adapt, modify, prepare
  derivative works based upon, distribute, license, sell, transfer,
  publicly display, publicly perform, transmit, stream, broadcast, attempt
  to discover any source code, reverse engineer, decompile, disassemble, or
  otherwise exploit the Service or any portion of the Service, except as
  expressly permitted in these Terms; or (iii) use data mining, robots,
  spiders, or similar data gathering and extraction tools on the Service.
  No licenses or rights are granted to you by implication or otherwise
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  under any intellectual property rights owned or controlled by the Company
  or its licensors, except for the permissions and rights expressly granted
  in these Terms.

  The Company reserves the right to modify or discontinue, temporarily or
  permanently, the Service (or any part thereof) with or without notice.
  The Company reserves the right to refuse any user access to the Services
  without notice for any reason, including but not limited to a violation
  of the Terms. If you violate these Terms, the Company reserves the right
  to issue you a warning regarding the violation or immediately terminate
  or suspend any or all Accounts you have created using the Service. You
  agree that the Company need not provide you notice before terminating or
  suspending your Account(s), but it may do so.

  # YOUR ACCOUNT

  You are responsible for your log-in credentials and for any activity
  resulting from the use of your log-in credentials or other activity on
  your account (“Account”) on the Service. Upon launching the App or the
  Service, if you do not already have an Account, you will be prompted to
  create one by providing a username and in some cases a password. You may
  also be required to provide a valid email address or other information to
  access or utilize certain applications or features. You represent and
  warrant that the information you provide to us upon registration and at
  all other times will be true, accurate, current, and complete. We reserve
  the right to reject any username or to terminate your username or prevent
  use of a username in our sole discretion, and without any liability to
  you. You understand and agree that other users of the Service may have
  the same username as you, however, users will be differentiated by a
  number identifier that may or may not be visible to you or other users.
  You will ensure that your e-mail address is kept accurate and up-to-date
  at all times. If we allow you to use the App without creating an Account
  (e.g., if we make available a single-session use feature), any username
  you select for use in connection with the App will be available for other
  users after your session ends. You are responsible for maintaining the
  confidentiality of your log-in credentials and are fully responsible for
  all activities that occur through the use of your credentials or
  otherwise on your Account. You agree to notify us immediately if you
  believe the confidentiality of your log-in credentials has been
  compromised or if you suspect unauthorized use of your Account. You agree
  that we will not be liable for any loss or damage arising from
  unauthorized use of your credentials.

  # COMMUNICATIONS

  You agree to receive communications from us electronically, such as
  email, text, or mobile push notices, or notices and messages on the
  Service. For any direct marketing messages, we will ensure that we obtain
  your consent first, and also make it easy for you to opt out — we don’t
  want to send you messages you don’t want.

  By using the Service or providing information to us, you agree that we
  may communicate with you electronically regarding security, privacy, and
  administrative issues relating to your use of the Service, and that all
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  agreements, notices, disclosures, and other communications that Discord
  provides to you electronically satisfy any legal requirements that such
  communications be in writing.

  You may use the Service to send messages to other users of the Service.
  You agree that your use of the Service will not include sending
  unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
  a variety of means to block spammers and abusers from using the Service.
  If you believe spam originated from the Service, please email us
  immediately at support@discordapp.com.

  # INTELLECTUAL PROPERTY RIGHTS

  All rights, title and interest in and to all materials that are part of
  the Service (including, but not limited to, designs, text, graphics,
  pictures, video, information, applications, software, music, sound and
  other files, and their selection and arrangement), except for Your
  Content, collectively referred to as the "Service Materials,” are, as
  between the Company and you, owned by the Company and/or its third party
  licensors. You acknowledge and agree that you shall not acquire any
  ownership rights whatsoever by downloading Service Materials or by
  purchasing any Virtual Currency or Virtual Goods (each as defined below).
  You agree that you shall not modify, copy, distribute, frame, reproduce,
  republish, download, scrape, display, post, transmit, or sell in any form
  or by any means, in whole or in part, or otherwise exploit the Service
  Materials without our express prior written permission. You acknowledge
  that you do not acquire any ownership rights by using the Service or by
  accessing any Service Materials posted on the Service by the Company, or
  any derivative works thereof. All rights not expressly granted by these
  Terms are reserved by the Company and its licensors, and no license is
  granted hereunder by estoppel, implication or otherwise.

  # YOUR CONTENT

  Any data, text, graphics, photographs and their selection and
  arrangement, and any other materials uploaded to the Service by you is
  “Your Content.” You represent and warrant that Your Content is original
  to you and that you exclusively own the rights to such content, including
  the right to grant all of the rights and licenses in these Terms without
  the Company incurring any third party obligations or liability arising
  out of its exercise of such rights and licenses. All of Your Content is
  your sole responsibility and the Company is not responsible for any
  material that you upload, post, or otherwise make available. By
  uploading, distributing, transmitting or otherwise using Your Content
  with the Service, you grant to us a perpetual, nonexclusive,
  transferable, royalty-free, sublicensable, and worldwide license to use,
  host, reproduce, modify, adapt, publish, translate, create derivative
  works from, distribute, perform, and display Your Content in connection
  with operating and providing the Service. The Company does not guarantee
  the accuracy, quality, or integrity of any user content posted. By using
  the Service, you acknowledge and accept that you may be exposed to
  material you find offensive or objectionable. You agree that the Company
  will not under any circumstances be liable for any user content,
  including, but not limited to, errors in any user content, or any loss or
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  damage incurred by use of user content. The Company reserves the right to
  remove and permanently delete Your Content from the Service with or
  without notice for any reason or no reason. You may notify the Company of
  any user content that you believe violates these Terms, or other
  inappropriate user behavior, by emailing abuse@discordapp.com.

  # RULES OF CONDUCT AND USAGE

  The Service provides communication channels such as forums, communities,
  or chat areas ("Communication Channels") designed to enable you to
  communicate with other Service users. The Company has no obligation to
  monitor these communication channels but it may do so in connection with
  providing the Service. The Company may also terminate or suspend your
  access to any Communication Channels at any time, without notice, for any
  reason. You acknowledge that any user content (including without
  limitation chats, postings, or materials posted by users) on the
  Communication Channels is neither endorsed nor controlled by us. The
  Company will not under any circumstances be liable for any activity
  within Communication Channels. The Company is not responsible for
  information that you choose to share on the Communication Channels, or
  for the actions of other users. As a condition of your use of the
  Service, and without limiting your other obligations under these Terms,
  you agree to comply with the restrictions and rules of use set forth in
  these Terms and our Community Guidelines as well as any additional
  restrictions or rules (such as application-specific rules) set forth in
  the Service. As an example, you agree not to use the Service in order to:

  - post, upload, transmit or otherwise disseminate information that is
  objectionable as outlined in our Community Guidelines;
  - defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
  abuse anyone;
  - engage in conduct that is fraudulent or illegal or otherwise harmful to
  Discord or any other user;
  - upload or transmit (or attempt to upload or transmit) files that
  contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
  files or data, or any other similar software or programs or engage in any
  other activity that may damage the operation of the Service or other
  users' computers;
  - violate the contractual, personal, intellectual property or other
  rights of any party including using, uploading, transmitting,
  distributing, or otherwise making available any information made
  available through the Service in any manner that infringes any copyright,
  trademark, patent, trade secret, or other right of any party (including
  rights of privacy or publicity);
  - attempt to obtain passwords or other private information from other
  members;
  - improperly use support channels or complaint buttons to make false
  reports to us;
  - develop, distribute, or publicly inform other members of "auto"
  software programs, "macro" software programs or other "cheat utility"
  software program or applications in violation of the applicable license
  agreements; or
  - exploit, distribute or publicly inform other members of any game error,
  miscue or bug which gives an unintended advantage; violate any applicable
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  laws or regulations; or promote or encourage illegal activity including,
  but not limited to, hacking, cracking or distribution of counterfeit
  software, compromised accounts, or cheats or hacks for the Service.


  These rules of use are not meant to be exhaustive, and we reserve the
  right to determine what conduct we consider to be a violation of the
  Terms, Community Guidelines or improper use of the Service and to take
  action including termination of your Account and exclusion from further
  participation in the Service.

  # FEEDBACK

  We appreciate hearing from our users and welcome your comments regarding
  the Service. If you choose to provide feedback, comments or suggestions
  for improvements to the Service or otherwise (in written or oral form)
  (“Feedback”), you represent and warrant that (a) you have the right to
  disclose the Feedback, (b) the Feedback does not violate the rights of
  any other person or entity, and (c) your Feedback does not contain the
  confidential or proprietary information of any third party or parties.

  By sending us any Feedback, you further (i) agree that we are under no
  obligation of confidentiality, express or implied, with respect to the
  Feedback, (ii) acknowledge that we may have something similar to the
  Feedback already under consideration or in development, (iii) grant us an
  irrevocable, non-exclusive, royalty-free, perpetual, worldwide license to
  use, modify, prepare derivative works from, publish, distribute and
  sublicense the Feedback, and (iv) irrevocably waive, and cause to be
  waived, against Discord and its users any claims and assertions of any
  moral rights contained in such Feedback. This Feedback section shall
  survive any termination of your account or the Services.

  All rights in this section are granted without the need for additional
  compensation of any sort to you.

  # THIRD-PARTY CONTENT

  We use third-party services to help us provide the Service, but such use
  does not indicate that we endorse them or are responsible or liable for
  their actions. In addition, the Service may link to third-party websites
  to facilitate its provision of services to you. If you use these links,
  you will leave the Service. Please note that your use of such third-party
  services will be governed by the terms and privacy policy applicable to
  the corresponding third party. Some of these third-party websites may use
  Service Materials under license from us. We are not responsible for nor
  do we endorse these third-party websites or the organizations sponsoring
  such third-party websites or their products or services, whether or not
  we are affiliated with such third-party websites. You agree that we are
  not responsible or liable for any loss or damage of any sort incurred as
  a result of any such dealings you may have on or through a third-party
  website or as a result of the presence of any third-party advertising on
  the Service.

  # USER DISPUTES
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  You are solely responsible for your interaction with other users of the
  Service and other parties that you come in contact with through the
  Service. The Company hereby disclaims any and all liability to you or any
  third party relating to your use of the Service. The Company reserves the
  right, but has no obligation, to manage disputes between you and other
  users of the Service.

  # COPYRIGHT

  __Copyright Complaints__. The Company respects the intellectual property
  of others, and we ask our users to do the same. If you believe that your
  work has been copied in a way that constitutes copyright infringement, or
  that your intellectual property rights have been otherwise violated, you
  should notify the Company of your infringement claim in accordance with
  the procedure set forth below. The Company will process and investigate
  notices of alleged infringement and will take appropriate actions under
  the Digital Millennium Copyright Act (“DMCA”) and other applicable
  intellectual property laws with respect to any alleged or actual
  infringement. A notification of claimed copyright infringement should be
  emailed to the Company’s Copyright Agent at copyright@discordapp.com
  (Subject line: “DMCA Takedown Request”). You may also contact us by mail
  at: Discord, Attention: DMCA Takedown Request, 444 De Haro Street #200,
  San Francisco, CA 94107.To be effective, the notification must be in
  writing and contain the following information:

  - an electronic or physical signature of the person authorized to act on
  behalf of the owner of the copyright or other intellectual property
  interest;
  - a description of the copyrighted work or other intellectual property
  that you claim has been infringed;
  - a description of where the material that you claim is infringing is
  located on the Service, with enough detail that we may find it on the
  Service;
  - your address, telephone number, and email address;
  - a statement by you that you have a good faith belief that the disputed
  use is not authorized by the copyright or intellectual property owner,
  its agent, or the law;
  - a statement by you, made under penalty of perjury, that the above
  information in your Notice is accurate and that you are the copyright or
  intellectual property owner or authorized to act on the copyright or
  intellectual property owner’s behalf.


  If you submit a notice of infringement that knowingly materially
  misrepresents that any Content, information, or communication on the
  Services is infringing upon a copyright, you may be held liable for
  damages and attorneys’ fees.

  __Counter-Notice__. If you believe that Your Content that was removed (or
  to which access was disabled) is not infringing, or that you have the
  authorization from the copyright owner, the copyright owner’s agent, or
  pursuant to the law, to upload and use the content in Your Content, you
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  may send a written counter-notice containing the following information to
  the Copyright Agent:

  - your physical or electronic signature;
  - identification of the content that has been removed or to which access
  has been disabled and the location at which the content appeared before
  it was removed or disabled;
  - a statement that you have a good faith belief that the content was
  removed or disabled as a result of mistake or a misidentification of the
  content; and
  - your name, address, telephone number, and email address, a statement
  that you consent to the jurisdiction of the federal court located within
  the Northern District of California and a statement that you will accept
  service of process from the person who provided notification of the
  alleged infringement.


  If a counter-notice is received by the Copyright Agent, the Company will
  send a copy of the counter-notice to the original complaining party
  informing that person that it may replace the removed content or cease
  disabling it in 10 business days. Unless the copyright owner files an
  action seeking a court order against the content provider, member or
  user, the removed content may be replaced, or access to it restored, in
  10 to 14 business days or more after receipt of the counter-notice, at
  our sole discretion.

  __Repeat Infringer Policy__. In accordance with the DMCA and other
  applicable law, the Company has adopted a policy of terminating, in
  appropriate circumstances and at the Company's sole discretion, users who
  are deemed to be repeat infringers. The Company may also at its sole
  discretion limit access to the Service and/or terminate the memberships
  of any users who infringe any intellectual property rights of others,
  whether or not there is any repeat infringement.

  # TERMINATION

  You may terminate your Account at any time and for any reason by deleting
  your account through the User Settings page in the application . The
  Company may terminate your Account and your access to the Service (or, at
  the Company's sole option, applicable portions of the Service) at any
  time and for any reason. The Company is not required to provide you with
  any notice or warning prior to any such termination. You may, as the
  result of termination, lose your Account and all information and data
  associated therewith, including without limitation your Virtual Currency
  and Virtual Goods, as applicable, and the Company is under no obligation
  to compensate you for any such loss.

  # DISCLAIMER OF WARRANTY

  THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" AND “AS
  AVAILABLE” WITHOUT WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED,
  INCLUDING, BUT NOT LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY,
  FITNESS FOR A PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. YOUR USE
  OF THE SERVICES IS AT YOUR SOLE RISK. IN ADDITION, WHILE THE COMPANY
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  ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
  REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
  FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
  DISRUPTIONS, OR IMPERFECTIONS. THE FOREGOING DISCLAIMERS SHALL APPLY TO
  THE EXTENT PERMITTED BY APPLICABLE LAW.

  # LIMITATION OF LIABILITY

  TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT WILL THE COMPANY, BE
  LIABLE TO YOU OR TO ANY THIRD PERSON FOR ANY CONSEQUENTIAL, INCIDENTAL,
  SPECIAL, PUNITIVE OR OTHER INDIRECT DAMAGES, INCLUDING ANY LOST PROFITS
  OR LOST DATA, ARISING FROM YOUR USE OF THE SERVICE OR OTHER MATERIALS ON,
  ACCESSED THROUGH OR DOWNLOADED FROM THE SERVICE, WHETHER BASED ON
  WARRANTY, CONTRACT, TORT, OR ANY OTHER LEGAL THEORY, AND WHETHER OR NOT
  THE COMPANY HAS BEEN ADVISED OF THE POSSIBILITY OF THESE DAMAGES.THE
  COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE GREATER OF (A) THE
  AMOUNT YOU HAVE PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE THREE
  (3) MONTHS IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT A
  CLAIM OR (B) $100. THE LIMITATIONS AND DISCLAIMERS IN THESE TERMS DO NOT
  PURPORT TO LIMIT LIABILITY OR ALTER RIGHTS THAT CANNOT BE EXCLUDED UNDER
  APPLICABLE LAW. SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF IMPLIED
  WARRANTIES OR LIMITATION OF LIABILITY FOR INCIDENTAL OR CONSEQUENTIAL
  DAMAGES, WHICH MEANS THAT SOME OF THE ABOVE DISCLAIMERS AND LIMITATIONS
  MAY NOT APPLY TO YOU. IN THESE JURISDICTIONS, DISCORD’S LIABILITY WILL BE
  LIMITED TO THE GREATEST EXTENT PERMITTED BY LAW.

  You specifically acknowledge that the Company shall not be liable for
  user content, including without limitation Your Content, or the
  defamatory, offensive, or illegal conduct of any third party and that the
  risk of harm or damage from the foregoing rests entirely with you.

  # INDEMNIFICATION

  You agree to indemnify and hold the Company, harmless from and against
  any loss, liability, claim, demand, damages, costs and expenses,
  including reasonable attorney's fees, arising out of or in connection
  with (i) your use of and access to the Service; (ii) your violation of
  any term of these Terms; (iii) your violation of any third party right,
  including without limitation any copyright, property, or privacy right or
  any third party agreement; or (iv) any of Your Content or information in
  your Account or any other information you post or share on or through the
  Service. As used in this section, "you" shall include anyone accessing
  the Service using your password

  # VIRTUAL CURRENCIES, VIRTUAL GOODS, AND TERMS OF SALE

  We will not charge you a fee to use the basic functionality of the
  Service, but fees may be charged for certain products and services. For
  additional terms regarding our Nitro subscription service, please see the
  “Nitro Subscriptions” section below.

  The Service may include an opportunity to obtain virtual currency
  ("Virtual Currency") or virtual goods ("Virtual Goods") that may require
  you to pay a fee using legal tender (that is, "real money") to obtain the
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  Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
  final and is not refundable, exchangeable, transferable, except in the
  Company’s or the platform provider’s sole discretion. You may not
  purchase, sell, or exchange Virtual Currency outside the Service. Doing
  so is a violation of the Terms and may result in termination of your
  Account with the Service and/or legal action. The Company retains the
  right to modify, manage, control and/or eliminate Virtual Currency and/or
  Virtual Goods at its sole discretion. Prices and availability of Virtual
  Goods are subject to change without notice. We shall have no liability to
  you or any third party for the exercise of such rights. You shall have a
  limited, personal, non-transferable, non-sublicensable permission to use
  solely within the Service Virtual Goods and Virtual Currency that you
  have earned, purchased or otherwise obtained in a manner authorized by
  the Company. You have no other right, title or interest in or to any such
  Virtual Goods or Virtual Currency appearing or originating in the
  Service.

  __Product Descriptions__. We try to make the Service thorough, accurate,
  and helpful to our customers. Nonetheless, there may be times when
  certain information contained on the Service may be incorrect,
  incomplete, or inaccurate, or appear inaccurate because of the browser,
  hardware, software, or other technology that you use. Discord reserves
  the right, with or without prior notice, to: change descriptions or
  references to products and/or services; limit the available quantity of
  any product or service; honor, or refuse to honor, any coupon, coupon
  code, promotional code or other similar promotions; and/or refuse to
  provide any visitor to, or use of the Service with any product or
  service.

  __Availability and Pricing__. Though we try to honor all purchase
  requests, availability cannot always be guaranteed. When an item is not
  available and cannot be replenished — for example, if we offer a limited
  promotion — we will attempt to remove the item from the Service in a
  timely manner but make no guarantees in this regard. We may occasionally
  make errors in the stated prices on the Service. If a product’s correct
  price is higher than the listed price, we will either confirm that we’ll
  provide the item at the price listed or cancel your order and notify you
  of such cancellation.

  __Payments__. We accept major credit cards, certain debit cards, PayPal,
  and/or such other payment methods we may make available to you from time-
  to-time through our Service, as forms of payment (“Payment Method”). We
  may also offer you the ability to make orders through a third party app
  store or other payment service. You agree to comply with their terms and
  any other requirements they may have. By submitting an order, you
  authorize Discord, or its designated payment processor, to charge the
  account you specify for the purchase amount.

  We may, in our sole discretion, cancel your payment at any time by
  providing notice to you through your contact information or by a notice
  when you attempt to make a payment. We may cancel a payment or prevent
  you from initiating future payments for any reason, including, without
  limitation, the following: (i) if you attempt to use the Service in
  breach of any applicable law or regulation, including the card network
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  rules or regulations; (ii) if you use the Service in breach of these
  Terms; (iii) if we suspect fraudulent, unlawful or improper activity
  regarding a payment; (iv) if we detect, in our sole discretion, that your
  payments have excessive disputes, high reversal rates or present a
  relatively high risk of losses; or (v) failure to cooperate in an
  investigation or provide additional information when requested.

  __Refunds__. You can find our refund policy here:
  https://support.discordapp.com/hc/en-us/articles/360012668071

  __Taxes__. Stated prices may not include sales and use taxes. If they do
  not, you are responsible for the payment of such taxes related to your
  purchase. We have the right to charge you for any taxes that we are
  required to pay or in fact collect related to your purchase.

  __International Orders__. You will be solely responsible for any license
  fees, customs duties, and other taxes and fees related to the export of
  the products from the United States.

  __Manufacturer EULAs and Other Terms__. You may be required to accept an
  end user license agreement (EULA) or other terms provided by the
  manufacturer prior to use of the product you ordered. A EULA or other
  terms may accompany the product you ordered.

  # NITRO SUBSCRIPTIONS

  __Recurring Billing__. By purchasing a Nitro subscription, you authorize
  us to charge your Payment Method on a recurring (e.g., monthly or yearly)
  basis for the applicable Nitro subscription charge, any and all taxes or
  possible transaction fees, and any other charges incurred in connection
  with your use of the Nitro subscription service. Your payment to Discord
  will automatically renew at the end of your applicable subscription
  period, unless you cancel your subscription before the end of the current
  subscription period.

  __Price Changes__. Discord may change the price for Nitro subscriptions
  from time to time, and will communicate any price changes to you in
  advance and, if applicable, how to accept those changes. Price changes
  for Nitro subscriptions will take effect at the start of the next
  subscription period following the date of the price change. As permitted
  by local law, you accept the new price by continuing to use Nitro after
  the price change takes effect. If you do not agree with the price
  changes, you have the right to reject the change by unsubscribing from
  Nitro prior to the price change going into effect. We don’t want to
  charge you for something you don’t want, though, so if you cancel within
  14 days of any price increases, we’ll provide you a refund.

  __Cancellation__. You may cancel your Nitro subscription at any time, and
  you will continue to have access to Nitro through the end of the current
  subscription period. If you cancel your subscription before the end of
  the current subscription period, we will not refund any subscription fees
  already paid to us. At our sole discretion, however, we may provide a
  refund, discount, or other consideration to some or all of our members
  ("credits"). The provision of credits in one instance does not entitle
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  you to credits in the future for similar instances, nor does it obligate
  us to provide credits in the future, under any circumstance. To cancel,
  go to the "User Settings" screen in the Discord desktop or mobile app and
  follow the instructions for cancellation.

  # DISPUTE RESOLUTION

  THIS SECTION AND THE NEXT SECTION ONLY APPLIES TO YOU IF YOU ARE A UNITED
  STATES RESIDENT.

  PLEASE READ THIS SECTION CAREFULLY - IT MAY SIGNIFICANTLY AFFECT YOUR
  LEGAL RIGHTS, INCLUDING YOUR RIGHT TO FILE A LAWSUIT IN COURT.

  You and Discord agree that these Terms affect interstate commerce and
  that the Federal Arbitration Act governs the interpretation and
  enforcement of these arbitration provisions.

  Most disputes can be resolved without resorting to arbitration. In the
  event of a dispute, you agree to provide us notice of the dispute. This
  notice must provide a brief, written description of the dispute, the
  relief requested and the contact information of the party giving it. You
  must send any such notice to Discord by email to disputes@discord.com and
  by U.S. Mail to Discord Inc., 444 De Haro Street #200, San Francisco, CA
  94107.

  The parties agree to use their best efforts to settle any dispute, claim,
  question, or disagreement directly through consultation with one another,
  and good faith negotiations shall be a condition to either party
  initiating a lawsuit or arbitration.

  Notwithstanding the foregoing, disputes concerning patents, copyrights,
  moral rights, trademarks, and trade secrets and claims of piracy or
  unauthorized use of the Site shall not be subject to arbitration, and the
  notice and good faith negotiation required by this paragraph shall not
  apply to these types of disputes.

  Binding Arbitration. Except as provided herein, if we cannot resolve a
  dispute informally, any dispute will be resolved only by binding
  arbitration to be held in the U.S. state in which you reside. For
  residents outside the United States, arbitration shall be initiated in
  San Francisco, California. Discord and you further agree to submit to the
  personal jurisdiction of any state or federal court in San Francisco,
  California to compel arbitration, stay proceedings pending arbitration,
  or to confirm, modify, vacate, or enter judgment on the award entered by
  the arbitrator.

  The arbitration shall be conducted by a single arbitrator, governed by
  the rules of JAMS that are in effect at the time the arbitration is
  initiated (referred to as the “JAMS Rules”) and under the rules set forth
  in these Terms. If there is a conflict between the JAMS Rules and the
  rules set forth in these Terms, the rules set forth in these Terms will
  govern. ARBITRATION MEANS THAT YOU WAIVE YOUR RIGHT TO A JURY TRIAL. You
  may, in arbitration, seek any and all remedies otherwise available to you
  pursuant to your state’s law.
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  To the extent the filing fee for the arbitration exceeds the cost of
  filing a lawsuit, Discord will pay the additional cost. Discord shall
  also bear the cost of any arbitration fees, unless the arbitrator finds
  your claims, defenses, or other fee-generating activity to be asserted or
  conducted for an improper purpose or frivolous. You are responsible for
  all other additional costs that you may incur in the arbitration
  including, without limitation, attorney’s fees and expert witness costs
  unless Discord is specifically required to pay such fees under applicable
  law. The decision of the arbitrator will be in writing and binding and
  conclusive on Discord and you, and judgment to enforce the decision may
  be entered by any court of competent jurisdiction. Discord and you agree
  that dispositive motions, including without limitation motions to dismiss
  and motions for summary judgment, will be allowed in the arbitration. The
  arbitrator must follow these Terms of Service and can award the same
  damages and relief as a court, including injunctive or other equitable
  relief and attorney’s fees. Discord and you understand that, absent this
  mandatory arbitration provision, Discord and you would have the right to
  sue in court and have a jury trial. Discord and you further understand
  that, in some instances, the costs of arbitration could exceed the costs
  of litigation and that the right to discovery may be more limited in
  arbitration than in court.

  If Discord’s or your claim is solely for monetary relief of $10,000 or
  less and does not include a request for any type of equitable remedy, the
  party bringing the claim may choose whether the arbitration of the claim
  will be conducted, through a telephonic hearing, or by an in-person
  hearing under the JAMS Rules, solely based on documents submitted to the
  arbitrator.

  You or Discord may choose to pursue a claim in small claims court where
  jurisdiction and venue over you and Discord otherwise qualifies for such
  small claims court and where the claim does not include a request for any
  type of equitable relief. However, if you decide to pursue a claim in
  small claims court, you agree to still provide Discord with advance
  notice by email to disputes@discord.com and by U.S. Mail to Discord Inc.,
  444 De Haro Street #200, San Francisco, CA 94107.

  __Opt-Out Right__. You have the right to opt out and not be bound by the
  provisions requiring arbitration by sending written notice of your
  decision to opt out to Discord by email to arbitration-opt-
  out@discord.com. The notice must be sent within 90 days of this Terms of
  Service taking effect, or your account creation on the Service. If you do
  not opt out via this method, you will be bound to arbitrate disputes in
  accordance with the terms of these paragraphs. If you opt out of the
  provisions requiring arbitration, Discord will not be bound by them
  either. If any clause within this Arbitration Section is found to be
  illegal or unenforceable, that specific clause will be severed from this
  section, and the remainder of its provisions will be given full force and
  effect.

  __Survival__. This Arbitration section shall survive any termination of
  your account or the Service.
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  # CLASS WAIVER

  THIS SECTION AND THE PREVIOUS SECTION ONLY APPLIES TO YOU IF YOU ARE A
  UNITED STATES RESIDENT.

  PLEASE READ THIS SECTION CAREFULLY. IT MAY SIGNIFICANTLY AFFECT YOUR
  LEGAL RIGHTS.

  Discord and you agree to resolve any dispute in an individual capacity,
  and not on behalf of, or as part of, any purported class, consolidated,
  or representative proceeding.

  The arbitrator cannot combine more than one person’s or entity’s claims
  into a single case, and cannot preside over any consolidated, class or
  representative proceeding (unless we agree otherwise). And, the
  arbitrator’s decision or award in one person’s or entity’s case can only
  impact the person or entity that brought the claim, not other Discord
  customers, and cannot be used to decide other disputes with other
  customers.

  If any court or arbitrator determines that the
  class/consolidated/representative action waiver set forth in this section
  is void or unenforceable for any reason or that arbitration can proceed
  on a class, consolidated, or representative basis, then the disputes,
  claims, or controversies will not be subject to arbitration and must be
  litigated in federal court located in San Francisco, California.

  This Class Action Waiver section shall survive any termination of your
  account or the Services.

  # INTERNATIONAL USE; EXPORT CONTROLS

  Software available in connection with the Service and the transmission of
  applicable data, if any, is subject to United States export controls. No
  software may be downloaded from the Service or otherwise exported or re-
  exported in violation of U.S. export laws. Downloading or using the
  software is at your sole risk. Recognizing the global nature of the
  Internet, you agree to comply with all local rules and laws regarding
  your use of the Service, including as it concerns online conduct and
  acceptable content.

  # IOS APPLICATIONS

  The following additional terms and conditions apply with respect to any
  App that the Company provides to you designed for use on an Apple iOS-
  powered mobile device (an “iOS App”):

  - You acknowledge that these Terms are between you and Discord only, and
  not with Apple, Inc. (“Apple”).
  - Your use of the Company’s iOS App must comply with Apple’s then-current
  App Store Terms of Service.
  - The Company, and not Apple, are solely responsible for our iOS App and
  the Services and Content available thereon. You acknowledge that Apple
  has no obligation to provide maintenance and support services with
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  respect to our iOS App. To the maximum extent permitted by applicable
  law, Apple will have no warranty obligation whatsoever with respect to
  our iOS App.
  - You agree that the Company, and not Apple, are responsible for
  addressing any claims by you or any third-party relating to our iOS App
  or your possession and/or use of our iOS App.
  - You agree that the Company, and not Apple, shall be responsible, to the
  extent required by these Terms, for the investigation, defense,
  settlement and discharge of any third-party intellectual property
  infringement claim related to our iOS App or your possession and use of
  our iOS App.
  - You represent and warrant that (i) you are not located in a country
  that is subject to a U.S. Government embargo, or that has been designated
  by the U.S. Government as a “terrorist supporting” country; and (ii) You
  are not listed on any U.S. Government list of prohibited or restricted
  parties.
  - You agree to comply with all applicable third-party terms of agreement
  when using our iOS App (e.g., you must not be in violation of your
  wireless data service terms of agreement when using the iOS App).
  - The parties agree that Apple and Apple’s subsidiaries are third-party
  beneficiaries to these Terms as they relate to your license of the
  Company’s iOS App. Upon your acceptance of these Terms, Apple will have
  the right (and will be deemed to have accepted the right) to enforce
  these Terms against you as they relate to your license of the iOS App as
  a third-party beneficiary thereof.


  # GENERAL

  __Governing Law__. By visiting or using the Service, you agree that the
  laws of the United States and the State of California, without regard to
  principles of conflict of laws and regardless of your location, will
  govern these Terms and any dispute of any sort that might arise between
  you and the Company.

  Any claim or dispute between you and the Company that arises out of or is
  related to the Service and is not subject to arbitration shall be decided
  exclusively by a court of competent jurisdiction located in San Francisco
  County, California, and you hereby consent to, and waive all defenses of
  lack of personal jurisdiction and forum non conveniens with respect to
  venue and jurisdiction in the state and federal courts of Santa Clara
  County, California.

  __Injunctive and Other Equitable Relief__. You acknowledge that the
  rights granted and obligations made to the Company under these Terms are
  of a unique and irreplaceable nature, the loss of which may result in
  immediate and irreparable harm to the Company for which remedies at law
  are inadequate. The Company shall therefore be entitled to seek
  injunctive or other equitable relief (without the obligation to post any
  bond or surety) in the event of any breach or anticipatory breach by you.
  You irrevocably waive all rights to seek injunctive or other equitable
  relief.
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  __Entire Agreement__. These Terms constitute the entire agreement between
  you and the Company with respect to your use of the Service and any other
  subject matter hereof and cannot be changed or modified by you except as
  expressly posted on the Service by the Company. You also may be subject
  to additional terms and conditions that may apply when you use affiliate
  or third party services, third party content or third party software.

  __Waiver__. The failure of the Company to exercise or enforce any right
  or provision of these Terms shall not constitute a waiver of such right
  or provision, and no waiver by either party of any breach or default
  hereunder shall be deemed to be a waiver of any preceding or subsequent
  breach or default.

  __Severability__. If any provision of these Terms is found by a court of
  competent jurisdiction to be invalid, the parties nevertheless agree that
  the court should endeavor to give effect to the parties' intentions as
  reflected in the provision, and the other provisions of these Terms shall
  remain in full force and effect.

  __Course of Conduct/Trade Practice__. Neither the course of conduct
  between the parties nor trade practice will act to modify these Terms.

  __Assignment__. These Terms may not be assigned by you without the
  Company's prior written consent, but are freely assignable by the
  Company. Subject to the foregoing restriction, these Terms will be
  binding on, inure to, and enforceable against the parties and their
  respective successors and assigns.

  __Documentation of Compliance__. Upon the Company's request, you will
  furnish the Company with any documentation, substantiation or releases
  necessary to verify your compliance with these Terms.

  __Interpretation__. You agree that these Terms will not be construed
  against the Company by virtue of having drafted them.

  __Defenses Based on Electronic Form of These Terms__. You hereby waive
  any and all defenses you may have based on the electronic form of these
  Terms and the lack of signing by the parties hereto to execute these
  Terms.

  __Survival__. You agree that the provisions of these Terms that by their
  nature should survive termination will survive any termination of these
  Terms.

  __Contact__. If you have any questions about these Terms, please contact
  privacy@discord.com.

  Discord is made possible through the work of other [open source
  software](https://discordapp.com/acknowledgements).
